                                                     Case 3:18-bk-01164-JAB                      Doc 279         Filed 07/02/20           Page 1 of 61

                                                                                      FORM 1                                                                                                         Page: 1
                                                                  INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                   ASSET CASES
Case Number:           18-01164 JAF                                                                                     Trustee:                        LUIS E. RIVERA II
Case Name:             Eihab H Tawfik MD PA                                                                             Filed (f) or Converted (c):     10/01/18 (c)
                                                                                                                         D 0HHWLQJ'DWH           10/29/18
Period Ending: 03/31/20                                                                                                 Claims Bar Date:                12/10/18

                                          1                                              2                             3                          4                   5                         6
                                                                                                              Estimated Net Value                                                          Asset Fully
                                                                                   Petition/             (Value Determined By Trustee,         Property           Sale/Funds            Administered (FA)/
                                  Asset Description                              Unscheduled                Less Liens, Exemptions,          Abandoned            Received by            Gross Value of
 Ref #                 (Scheduled And Unscheduled (u) Property)                     Values                      and Other Costs)          2$  D $EDQGRQ       the Estate           Remaining Assets

  1      CenterState Bank Operating 9611 (u)                                                   452.34                              2.00                                     1,752.77           FA

  2      SunTrust Bank Operating 3558                                                        38,294.70                             0.00                                          0.00          FA

  3      CenterState Bank Operating 9637                                                      2,048.00                             0.00                                          0.00          FA
         (see footnote)
  4      CenterState Bank Payroll 9603                                                          37.39                              0.00                                          0.00          FA
         (see footnote)
  5      CenterState Bank ACH 9629 (u)                                                        5,952.56                           315.40                                     8,530.10           FA

  6      Accounts Receivable                                                            1,000,000.00                        100,000.00                                    78,654.41            FA

  7      Various Medical Supplies                                                            Unknown                               0.00                                          0.00          FA

  8      Various office furniture                                                            Unknown                               0.00                                          0.00          FA

  9      Various medical equipment (u)                                                       Unknown                               0.00                                   12,000.00            FA

  10     Business license                                                                         1.00                             0.00                                          0.00          FA

  11     Patient list(s)                                                                          1.00                             0.00                                          0.00          FA

  12     SunTrust Bank 3482                                                                       0.00                             0.00                                          0.00          FA

  13     DIP Account - Regions 8988 (u)                                                           0.00                       37,176.95                                    10,912.11            FA

  14     Avoidance Claim against Eihab H. Tawfik, M.D., ind (u)                                   0.00                        Unknown                                     70,000.00            FA

  15     Florida Abandoned Property Claims (u)                                                    0.00                        5,879.20                                      5,879.20                 4,776.48

  16     DIP Account - Regions 8961 (u)                                                           0.00                           301.02                                          0.00          FA

  17     DIP Account - Regions 9143 (u)                                                           0.00                        5,825.48                                      4,541.85           FA

  18     2015 MERCEDES S550 (VIN# WDDUG8FB2FA086585)                                              0.00                             0.00                                          0.00          FA
         (see footnote)
  19     Unearned balance of Chapter 11 Bond Premium (u)                                          0.00                            50.00                                         50.00          FA

TOTALS (Excluding Unknown Values)                                                      $1,046,786.99                      $149,550.05                                 $192,320.44                   $4,776.48
Regarding Property #3       Account closed prior to conversion of case to Chapter 7.
                                                  Case 3:18-bk-01164-JAB                    Doc 279         Filed 07/02/20            Page 2 of 61

                                                                                   FORM 1                                                                                                          Page: 2
                                                               INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                ASSET CASES
Regarding Property #4 Account closed prior to conversion of case to Chapter 7.
Regarding Property #18 Deleted per Doc. 56.

Major activities affecting case closing:
Rev'd status of Fla Treasure Hunt Claim No. C8562077 & C8579764. Claims still pending. <6/15/2020, 2:26:41 PM - LR-435>

Filed Fla Treasure Hunt Claim No. C8562077. Working on closing case. <4/10/2020, 11:04:53 AM - LR-435>

Filed Fla Treasure Hunt Claim Nos. C8495925 & C8495956. <2/5/2020, 10:27:55 AM - LR-435>

Dr. Tawfik died 9/15/2019 of accidental drug overdose. Prior to his death, Dr. Tawfik transferred many of his personal assets to a "trust". Counsel working to consider additional avenues for recovery.
<1/16/2020, 8:46:33 AM - LR-435>

TC with Robin Beard-Fogg regarding medical records. <6/14/2019, 1:13:16 PM - LR-435>

Telephone conference with Alana Kelehar regarding Forms 941 filed with IRS.<6/12/2019, 3:59:45 PM - LR-435>

Filed response to Order to Show Cause (Rizzo-Anderson v. Eihab H. Tawfik, M.D., P.A., M.D. Fla.) <6/3/2019, 10:06:20 PM - LR-435>

TC from Dana Burke regarding issues with IRS and payment of refund. Emailed proof of payment of payroll taxes. <5/28/2019, 11:58:07 AM - LR-435>

Emails to/from CPA regarding FL UT-6 and form 940. <5/23/2019, 7:42:16 AM - LR-435>

Email to CPA regarding FL UT-6 and Form 940. May 3, 2019 (LR)

7&ZLWK-%XUQHWW(VTUHJDUGLQJVWDWXVRIDGYHUVDU\SURFHHGLQJ$SULO1, 2019 (LR)

&RUUHVSRQGHQFHWR3LWQH\%RZHVUHTXHVWLQJUHIXQGRISRVWDJHFUHGLW$OVRVXEPLWWHGRQOLQHIRUP)HE20, 2019 (LR)

Trial on Motion For Sanctions against Eihab H. Tawfik, M.D. rescheduled to 5/29/2019 at 01:3030DW-DFNVRQYLOOH)/)HE20, 2019 (LR)

Recd Order Approving Application to Employ Accountant; Prepare and file Proof of Service 2/18/2019 - Anne Migliore

Mailed W2s to employees and W3WR,56-DQ31, 2019 (LR)

)LOHG$SSOLFDWLRQWR(PSOR\/DUU\6+\PDQDV$FFRXQWDQW6XEPLWWHGSURSRVHGRUGHU-DQ21, 2019 (LR)

Recd Order Granting Motion to Reschedule Hearing on Final Application; Prepare and file Proof of Service 1/9/2019 - Anne Migliore

Recd Order Granting Motion to Sell Property of the Estate; Prepare and file Proof of Service 1/2/2019 - Anne Migliore

)LOHG1RWLFH5HJDUGLQJ0RWLRQWR6HOO3URSHUW\RIWKH(VWDWH'HF14, 2018 (LR)

)LOHG0RWLRQWR6HOO3URSHUW\RI(VWDWH &HOHEUDWLRQ0HGLFDO(TXLSPHQW 1RY27, 2018 (LR)

Filed Notice of Appearance and Request for Notice as Additional Counsel in the Adv Proc. No. 18-00168. November 21, 2018 (JP)

Filed Certificate of Non-Attendance for Debtor(s) failure to attend Section 3410HHWLQJ1RY14, 2018 (LR)

Prepare and file Amended Notice of Abandonment; Prepare and upload to COS 10/26/2018 - Anne Migliore

Recd Order Approving Application to Employ Lee Glotzback; Prepare and file Proof of Service 10/25/2018 - Anne Migliore

Submitted proposed order granting Chapter 77UXVWHH V([SHGLWHG0RWLRQWR2SHUDWHD%XVLQHVV2FW22, 2018 (LR)

                                                 Case 3:18-bk-01164-JAB                   Doc 279         Filed 07/02/20           Page 3 of 61

                                                                                 FORM 1                                                                                      Page: 3
                                                             INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                              ASSET CASES
Prepare and file Trustee's Notice of Abandonment; Upload to COS 10/19/2018 - Anne Migliore

Hearing held on Chapter 77UXVWHH V([SHGLWHG0RWLRQWR2SHUDWHD%XVLQHVV0RWLRQJUDQWHG2FW18, 2018 (LR)

Filed Notice of Hearing on Chapter 77UXVWHH V([SHGLWHG0RWLRQWR2SHUDWHD%XVLQHVV+HDULQJWREHKHOG10/18/2018 at 11:30$0DW-DFNVRQYLOOH)/2FW15, 2018 (LR)

Filed Chapter 7 Trustee's Expedited Motion to Operate a Business; Requested expedited hearing. October 12, 2018 (JP)

6HQWGRFXPHQWUHTXHVWIRUPHHWLQJRIFUHGLWRUVWR'HEWRU VFRXQVHO2FW9, 2018 (LR)

  [Luis Rivera 2018-09-21 12:53:09]

Initial Projected Date of Final Report (TFR): September 30, 2020                                     Current Projected Date of Final Report (TFR): September 30, 2020
                                             Case 3:18-bk-01164-JAB           Doc 279            Filed 07/02/20      Page 4 of 61

                                                                      Form 2                                                                                                     Page: 1

                                                      Cash Receipts and Disbursements Record
Case Number:          18-01164 JAF                                                               Trustee:                LUIS E. RIVERA II
Case Name:            Eihab H Tawfik MD PA                                                       Bank Name:              CenterState Bank
                                                                                                 Account:                ********-ch7 - Checking
Taxpayer ID#:         ******5340                                                                 Blanket Bond:           $26,699,000.00 (per case limit)
Period:               04/01/19 - 03/31/20                                                        Separate Bond:          N/A

   1            2                     3                                         4                                                 5                    6                    7

 Trans.    Check or                                                                                          Uniform           Receipts          Disbursements          Checking
  Date      Ref. #          Paid To / Received From                 Description of Transaction              Tran. Code            $                    $             Account Balance

10/01/18              M.D. P.A. Eihab H. Tawfik          Transfer of Funds from Chapter 11 DIP ACH          9999-000                      2.00                                      2.00
                                                         Receiving Account

10/01/18              M.D. P.A. Eihab H. Tawfik          Transfer of Funds to Chapter 11 DIP ACH            9999-000                                         2.00                   0.00
                                                         Receiving Account

10/02/18              Transfer from Acct # xxxxxx9629    Transfer of Funds                                  9999-000                  242.18                                     242.18

10/02/18     10054    OpenSky                            Unauthorized payment to OpenSky Secured            8500-002                                       100.00                142.18
                                                         Credit Card for benefit of Nawal Aboukabchat

10/02/18     10055    Merrick Bank                       Unauthorized payment for benefit of Nawal          8500-002                                       100.00                 42.18
                                                         Aboukabchat

10/02/18     10056    Florida Blue/FL Blue               Unauthorized ACH Payment                           8500-002                                        42.18                   0.00

10/05/18              M.D. P.A. Eihab H. Tawfik          Transfer of Funds from Chapter 11 DIP ACH          9999-000                      1.00                                      1.00
                                                         Receiving Account

10/05/18              M.D. P.A. Eihab H. Tawfik          Transfer of Funds from Chapter 11 DIP ACH          9999-000               1,518.59                                     1,519.59
                                                         Receiving Account

10/05/18              M.D. P.A. Eihab H. Tawfik          Transfer of Funds to Chapter 11 DIP ACH            9999-000                                         2.00               1,517.59
                                                         Receiving Account

10/09/18              OpenSky                            Refund of Unauthorized payment to OpenSky          8500-002                                       -100.00              1,617.59
                                                         Secured Credit Card for benefit of Nawal
                                                         Aboukabchat

10/09/18              Merrick Bank                       Refund of Unauthorized payment for benefit of      8500-002                                       -100.00              1,717.59
                                                         Nawal Aboukabchat
                                             Case 3:18-bk-01164-JAB           Doc 279            Filed 07/02/20      Page 5 of 61

                                                                      Form 2                                                                                                    Page: 2

                                                      Cash Receipts and Disbursements Record
Case Number:          18-01164 JAF                                                               Trustee:                LUIS E. RIVERA II
Case Name:            Eihab H Tawfik MD PA                                                       Bank Name:              CenterState Bank
                                                                                                 Account:                ********-ch7 - Checking
Taxpayer ID#:         ******5340                                                                 Blanket Bond:           $26,699,000.00 (per case limit)
Period:               04/01/19 - 03/31/20                                                        Separate Bond:          N/A

   1            2                     3                                         4                                                 5                    6                   7

 Trans.    Check or                                                                                          Uniform           Receipts          Disbursements         Checking
  Date      Ref. #          Paid To / Received From                 Description of Transaction              Tran. Code            $                    $            Account Balance

10/09/18              Florida Blue/FL Blue               Refund of Unauthorized ACH Payment                 8500-002                                       -42.18              1,759.77

10/15/18     10057    Microsoft                          Chapter 7 Operating Expense - Microsoft 365        2690-000                                        5.00               1,754.77

10/31/18     10058    CenterState Bank                   TRADITIONAL PAPER STATEMENT FEE                    2600-000                                        2.00               1,752.77

11/05/18     10059    Closing Debit                      Closing Debit                                      9999-000                                   1,752.77                    0.00


                                                                               ACCOUNT TOTALS                                      1,763.77            1,763.77                  $0.00
                                                                                  Less: Bank Transfers                             1,763.77            1,756.77

                                                                               Subtotal                                                   0.00              7.00
                                                                                  Less: Payment to Debtors                                                  0.00

                                                                               NET Receipts / Disbursements                           $0.00                $7.00
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                                                                      Form 2                                                                                                    Page: 3

                                                      Cash Receipts and Disbursements Record
Case Number:          18-01164 JAF                                                               Trustee:                LUIS E. RIVERA II
Case Name:            Eihab H Tawfik MD PA                                                       Bank Name:              CenterState Bank
                                                                                                 Account:                ********-ch7 - Checking
Taxpayer ID#:         ******5340                                                                 Blanket Bond:           $26,699,000.00 (per case limit)
Period:               04/01/19 - 03/31/20                                                        Separate Bond:          N/A

   1            2                     3                                         4                                                 5                    6                   7

 Trans.    Check or                                                                                          Uniform           Receipts          Disbursements         Checking
  Date      Ref. #          Paid To / Received From                 Description of Transaction              Tran. Code            $                    $            Account Balance

10/01/18   Asset #6   AETNA AS01/HCCLAIMPMT         Medical claim payment per Order (Doc. 200)              1121-000                  315.40                                    315.40
                      TRN'1'818269640003243'1066033
                      492\ EIHA
10/01/18   Asset #6   AETNA AS01/HCCLAIMPMT         Medical claim payment per Order (Doc. 200)              1121-000                   68.80                                    384.20
                      TRN'1'818269660003322'1066033
                      492\ EIHA
10/01/18   Asset #6   AETNA A04/HCCLAIMPMT          Medical claim payment per Order (Doc. 200)              1121-000                   24.63                                    408.83
                      TRN'1'818269630003568'1066033
                      492\ EIHAB
10/01/18   Asset #6   WELLCAREFLCARE/HCCLAIMP            Medical claim payment per Order (Doc. 200)         1121-000                      0.87                                  409.70
                      MT
                      TRN'1'1004120826'1592583622\
                      EIHAB
10/01/18   Asset #5   CenterState Bank                   Transfer from chapter 11 case                      1290-010               3,214.95                                    3,624.65

10/01/18              CenterState Bank                   Overdraft ProtecUon Transfer Fee                   2600-000                                        10.00              3,614.65

10/01/18              Transfer to Acct # xxxxxx9611      Transfer funds to Chapter 11 DIP Operating         9999-000                                         2.00              3,612.65
                                                         Account

10/02/18     1112     Mercedes-Benz Financial Services Unauthorized payment to Mercedes Benz                8500-002                                   3,056.24                 556.41
                                                       Financial Services

10/02/18              M.D. P.A. Eihab H. Tawfik          Transfer funds to Chapter 11 DIP Operating         9999-000                                       242.18               314.23
                                                         Account

10/02/18              CenterState Bank                   Overdraft Protection Transfer Fee                  2600-000                                        10.00               304.23

10/03/18   Asset #6   BCBSF/HCCLAIMPMT                   Medical claim payment per Order (Doc. 200)         1121-000                  151.96                                    456.19
                      TRN'1'206686706'1592015694\EI
                      HAB H TAWFIK M
                                            Case 3:18-bk-01164-JAB            Doc 279            Filed 07/02/20      Page 7 of 61

                                                                      Form 2                                                                                                   Page: 4

                                                      Cash Receipts and Disbursements Record
Case Number:          18-01164 JAF                                                               Trustee:                LUIS E. RIVERA II
Case Name:            Eihab H Tawfik MD PA                                                       Bank Name:              CenterState Bank
                                                                                                 Account:                ********-ch7 - Checking
Taxpayer ID#:         ******5340                                                                 Blanket Bond:           $26,699,000.00 (per case limit)
Period:               04/01/19 - 03/31/20                                                        Separate Bond:          N/A

   1            2                     3                                         4                                                 5                    6                  7

 Trans.    Check or                                                                                          Uniform           Receipts          Disbursements        Checking
  Date      Ref. #          Paid To / Received From                 Description of Transaction              Tran. Code            $                    $           Account Balance

10/03/18   Asset #6   BCBSF/HCCLAIMPMT                   Medical claim payment per Order (Doc. 200)         1121-000                   41.16                                   497.35
                      TRN'1'173986934'1592015694\
                      EIHAB H TAWFIK
10/04/18   Asset #6   STATE OF                   Medical claim payment per Order (Doc. 200)                 1121-000               1,021.24                                   1,518.59
                      FLORIDA/HCCLAIMPMTTRN'1'05
                      9902071'1593452939`EIHAB
10/05/18              M.D. P.A. Eihab H. Tawfik          Transfer funds from Chapter 11 DIP Operating       9999-000                      2.00                                1,520.59
                                                         Account

10/05/18              M.D. P.A. Eihab H. Tawfik          Transfer funds to Chapter 11 DIP Operating         9999-000                                   1,518.59                   2.00
                                                         Account

10/05/18              Transfer to Acct # xxxxxx9611      Transfer of Funds                                  9999-000                                        1.00                  1.00

10/09/18   Asset #6   Marketplace/HCCLAJMPMTTRN'1' Medical claim payment per Order (Doc. 200)               1121-000               1,163.69                                   1,164.69
                      0901423026'1203174593\EIHAB
                      H TA
10/09/18   Asset #6   AETNA                        Medical claim payment per Order (Doc. 200)               1121-000                  102.07                                  1,266.76
                      AS01/HCCLAIMPMTTRN'1'81827
                      6620003282'1066033492\EIHAJ;
10/09/18   Asset #6   AETNA                        Medical claim payment per Order (Doc. 200)               1121-000                   47.12                                  1,313.88
                      A04/HCCLAJMPMTTRN'1'818276
                      590003059'1066033492\EIHAB H
10/10/18              Mercedes-Benz Financial Services Return of unauthorized payment to Mercedes           8500-002                                   -3,056.24              4,370.12
                                                       Benz Financial Services

10/10/18   Asset #6   Electronic                Medical claim payment per Order (Doc. 200)                  1121-000                   39.48                                  4,409.60
                      Comme/HCCLAIMPMTTRN'1'194
                      2323206'1341858379'0000E
10/10/18   Asset #6   BCBSF/HCCLAIMPMTTRN'1'1739 Medical claim payment per Order (Doc. 200)                 1121-000                      0.26                                4,409.86
                      96638'1592015694\EIHAB H
                      TAWFIK MD
                                            Case 3:18-bk-01164-JAB            Doc 279            Filed 07/02/20      Page 8 of 61

                                                                      Form 2                                                                                                    Page: 5

                                                      Cash Receipts and Disbursements Record
Case Number:          18-01164 JAF                                                               Trustee:                LUIS E. RIVERA II
Case Name:            Eihab H Tawfik MD PA                                                       Bank Name:              CenterState Bank
                                                                                                 Account:                ********-ch7 - Checking
Taxpayer ID#:         ******5340                                                                 Blanket Bond:           $26,699,000.00 (per case limit)
Period:               04/01/19 - 03/31/20                                                        Separate Bond:          N/A

   1            2                     3                                         4                                                 5                    6                   7

 Trans.    Check or                                                                                          Uniform           Receipts          Disbursements         Checking
  Date      Ref. #          Paid To / Received From                 Description of Transaction              Tran. Code            $                    $            Account Balance

10/11/18   Asset #6   STATE OF                   Medical claim payment per Order (Doc. 200)                 1121-000                  432.20                                   4,842.06
                      FLORIDA/HCCLAIMPMTTRN'1'05
                      9915733'1593452939-EIHAB
10/12/18   Asset #6   HPHC                         Medical claim payment per Order (Doc. 200)               1121-000                      0.26                                 4,842.32
                      INSURANCEIHCCLAIMPMTTRN'1
                      '836320'1043149694'HPHC\WEST
                      C
10/15/18   Asset #6   AETNA                       Medical claim payment per Order (Doc. 200)                1121-000                   38.37                                   4,880.69
                      AS011HCCLAIMPMTTRN'1'81828
                      3840005148'1066033492\EIHAB
10/17/18   Asset #6   BCBSF/HCCLAIMPMTTRN'1'2067 Medical claim payment per Order (Doc. 200)                 1121-000                  436.03                                   5,316.72
                      19827'1592015694\EIHAB H
                      TAWFIK MD
10/24/18   Asset #6   BCBSF/HCCLAIMPMTTRN'1'1423 Medical claim payment per Order (Doc. 200)                 1121-000                      0.26                                 5,316.98
                      60234'1592015694\EIHAB H
                      TAWFJK MD
10/24/18   Asset #6   AETNA                       Medical claim payment per Order (Doc. 200)                1121-000                      0.17                                 5,317.15
                      AS01/HCCLAIMPMTTRN'1'81829
                      3230000714'1066033492\EIHAB
10/31/18              CenterState Bank                   TRADITIONAL PAPER STATEMENT FEE                    2600-000                                         2.00              5,315.15

11/05/18     1113     Closing Debit                      Closing Debit                                      9999-000              -5,315.15                                        0.00


                                                                               ACCOUNT TOTALS                                      1,785.77            1,785.77                  $0.00
                                                                                  Less: Bank Transfers                            -5,313.15            1,763.77

                                                                               Subtotal                                            7,098.92                 22.00
                                                                                  Less: Payment to Debtors                                                   0.00

                                                                               NET Receipts / Disbursements                       $7,098.92                $22.00
                                            Case 3:18-bk-01164-JAB             Doc 279            Filed 07/02/20      Page 9 of 61

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                                                       Cash Receipts and Disbursements Record
Case Number:          18-01164 JAF                                                                Trustee:                LUIS E. RIVERA II
Case Name:            Eihab H Tawfik MD PA                                                        Bank Name:              Regions Bank
                                                                                                  Account:                **********-ch7 - Checking
Taxpayer ID#:         ******5340                                                                  Blanket Bond:           $26,699,000.00 (per case limit)
Period:               04/01/19 - 03/31/20                                                         Separate Bond:          N/A

   1            2                      3                                         4                                                 5                  6                     7

 Trans.    Check or                                                                                           Uniform           Receipts        Disbursements           Checking
  Date      Ref. #           Paid To / Received From                 Description of Transaction              Tran. Code            $                  $              Account Balance

10/01/18              Regions Bank                        Transfer from chapter 11 case                      9999-000                  301.02                                   301.02

10/02/18     1024     TSYS                                Chapter 11 Operating Expense - Point-of-Sale       6950-000                                       17.25               283.77
                                                          Fees

10/05/18     1025     M.D. P.A. Eihab H. Tawfik           Balance Transfer to Chapter 11 DIP Operating       9999-000                                     283.77                  0.00
                                                          Account

10/10/18     1026     TSYS                                Chapter 11 Operating Expense - Point-of-Sale       6950-000                                     172.31                -172.31
                                                          Fees

10/11/18              TSYS                                Refund of Chapter 11 Operating Expense -           6950-000                                     -172.31                 0.00
                                                          Point-of-Sale Fees

10/11/18              Regions Bank                        Returned Item Fee                                  2600-000                                       36.00                -36.00

10/12/18     1027     Physicians Casualty Risk            Chapter 11 Operating Expense - medical             6950-000                                  6,632.50             -6,668.50
                      Retention Group                     malpractice insurance

10/15/18              Physicians Casualty Risk            Refund of Chapter 11 Operating Expense -           6950-000                                 -6,632.50                  -36.00
                      Retention Group                     medical malpractice insurance

10/15/18     1028     TSYS                                Chapter 11 Operating Expense - Point of Sale       6950-000                                     172.31                -208.31
                                                          Fees

10/15/18              Regions Bank                        Returned Item Fee                                  2600-000                                       36.00               -244.31

10/16/18              Regions Bank                        Refund Returned Item Fee                           2600-000                                       -36.00              -208.31

10/16/18              TSYS                                Refund of Chapter 11 Operating Expense -           6950-000                                     -172.31                -36.00
                                                          Point of Sale Fees
                                            Case 3:18-bk-01164-JAB           Doc 279        Filed 07/02/20         Page 10 of 61

                                                                      Form 2                                                                                                  Page: 7

                                                      Cash Receipts and Disbursements Record
Case Number:          18-01164 JAF                                                              Trustee:                LUIS E. RIVERA II
Case Name:            Eihab H Tawfik MD PA                                                      Bank Name:              Regions Bank
                                                                                                Account:                **********-ch7 - Checking
Taxpayer ID#:         ******5340                                                                Blanket Bond:           $26,699,000.00 (per case limit)
Period:               04/01/19 - 03/31/20                                                       Separate Bond:          N/A

   1            2                     3                                        4                                                 5                    6                   7

 Trans.    Check or                                                                                         Uniform           Receipts          Disbursements         Checking
  Date      Ref. #          Paid To / Received From                Description of Transaction              Tran. Code            $                    $            Account Balance

10/16/18              Regions Bank                       Returned Item Fee                                 2600-000                                        36.00              -72.00

10/30/18              Regions Bank                       Refund Returned Item Fee                          2600-000                                       -36.00              -36.00

10/30/18              Regions Bank                       Refund Returned Item Fee                          2600-000                                       -36.00                0.00


                                                                              ACCOUNT TOTALS                                         301.02               301.02               $0.00
                                                                                 Less: Bank Transfers                                301.02               283.77

                                                                              Subtotal                                                   0.00              17.25
                                                                                 Less: Payment to Debtors                                                   0.00

                                                                              NET Receipts / Disbursements                            $0.00               $17.25
                                            Case 3:18-bk-01164-JAB            Doc 279        Filed 07/02/20         Page 11 of 61

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                                                      Cash Receipts and Disbursements Record
Case Number:          18-01164 JAF                                                               Trustee:                LUIS E. RIVERA II
Case Name:            Eihab H Tawfik MD PA                                                       Bank Name:              Regions Bank
                                                                                                 Account:                **********-ch7 - Checking
Taxpayer ID#:         ******5340                                                                 Blanket Bond:           $26,699,000.00 (per case limit)
Period:               04/01/19 - 03/31/20                                                        Separate Bond:          N/A

   1            2                     3                                         4                                                 5                    6                  7

 Trans.    Check or                                                                                          Uniform           Receipts          Disbursements        Checking
  Date      Ref. #          Paid To / Received From                 Description of Transaction              Tran. Code            $                    $           Account Balance

10/01/18              Regions Bank                       Transfer from chapter 11 case                      9999-000              10,912.11                              10,912.11

10/25/18     1003     Closing Withdrawal                 Closing Withdrawal                                 9999-000             -10,912.11                                     0.00


                                                                               ACCOUNT TOTALS                                             0.00              0.00               $0.00
                                                                                  Less: Bank Transfers                                    0.00              0.00

                                                                               Subtotal                                                   0.00              0.00
                                                                                  Less: Payment to Debtors                                                  0.00

                                                                               NET Receipts / Disbursements                           $0.00                $0.00
                                            Case 3:18-bk-01164-JAB           Doc 279         Filed 07/02/20         Page 12 of 61

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                                                      Cash Receipts and Disbursements Record
Case Number:          18-01164 JAF                                                               Trustee:                LUIS E. RIVERA II
Case Name:            Eihab H Tawfik MD PA                                                       Bank Name:              Regions Bank
                                                                                                 Account:                **********-ch7 - Checking
Taxpayer ID#:         ******5340                                                                 Blanket Bond:           $26,699,000.00 (per case limit)
Period:               04/01/19 - 03/31/20                                                        Separate Bond:          N/A

   1            2                      3                                        4                                                 5                  6                    7

 Trans.    Check or                                                                                          Uniform           Receipts        Disbursements          Checking
  Date      Ref. #          Paid To / Received From                 Description of Transaction              Tran. Code            $                  $             Account Balance

10/01/18   Asset #17 Regions Bank                        Transfer from chapter 11 case                      1290-010               4,541.85                                   4,541.85

10/03/18     10037    Likwid Communications, Inc.        Phone and networking services per Order            2690-000                                  2,995.43                1,546.42
                                                         (Doc. 200).

10/04/18   Asset #6   Deposit - Thank You                Healthcare claim revenue per Order (Doc. 200). 1121-000                      188.52                                  1,734.94

10/05/18              M.D. P.A. Eihab H. Tawfik          Balance Transfer from Chapter 11 DIP               9999-000                  283.77                                  2,018.71
                                                         Receiving Account

10/16/18   Asset #6   Deposit - Thank You                Healthcare claim revenue per Order (Doc. 200). 1121-000                      282.37                                  2,301.08

10/22/18     10038    Gateway EDI, LLC                   Insurance Claim Processing per Order (Doc.         2690-000                                  2,127.15                 173.93
                                                         200).

10/23/18     10039    Lease Services                     Lease payment per Order (Doc. 200).                2690-000                                  1,301.56            -1,127.63

10/23/18              Regions Bank                       Paid Overdraft Item Fee per Order (Doc. 200)       2690-000                                       36.00          -1,163.63

10/24/18     10040    Microsoft                          Microsoft 365 - Operating Expense per Order        2690-000                                     104.00           -1,267.63
                                                         (Doc. 200).

10/24/18     10041    Microsoft                          Microsoft 365 - Operating Expense per Order        2690-000                                     135.00           -1,402.63
                                                         (Doc. 200).

10/24/18     10042    Microsoft                          Microsoft 365 - Operating Expense per Order        2690-000                                     490.00           -1,892.63
                                                         (Doc. 200).

10/25/18              Microsoft                          Microsoft 365 - Operating Expense per Order        2690-000                                     -104.00          -1,788.63
                                                         (Doc. 200).
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                                                      Cash Receipts and Disbursements Record
Case Number:          18-01164 JAF                                                               Trustee:                LUIS E. RIVERA II
Case Name:            Eihab H Tawfik MD PA                                                       Bank Name:              Regions Bank
                                                                                                 Account:                **********-ch7 - Checking
Taxpayer ID#:         ******5340                                                                 Blanket Bond:           $26,699,000.00 (per case limit)
Period:               04/01/19 - 03/31/20                                                        Separate Bond:          N/A

   1            2                     3                                         4                                                 5                  6                    7

 Trans.    Check or                                                                                          Uniform           Receipts        Disbursements          Checking
  Date      Ref. #          Paid To / Received From                 Description of Transaction              Tran. Code            $                  $             Account Balance

10/25/18              Microsoft                          Microsoft 365 - Operating Expense per Order        2690-000                                     -135.00          -1,653.63
                                                         (Doc. 200).

10/25/18              Microsoft                          Microsoft 365 - Operating Expense per Order        2690-000                                     -490.00          -1,163.63
                                                         (Doc. 200).

10/25/18              Regions Bank                       Returned Item Fee                                  2600-000                                     108.00           -1,271.63

10/31/18              Regions Bank                       Monthly Bank Fee                                   2600-000                                       12.00          -1,283.63


                                                                               ACCOUNT TOTALS                                      5,296.51           6,580.14           $-1,283.63
                                                                                  Less: Bank Transfers                               283.77               0.00

                                                                               Subtotal                                            5,012.74           6,580.14
                                                                                  Less: Payment to Debtors                                                0.00

                                                                               NET Receipts / Disbursements                       $5,012.74          $6,580.14
                                            Case 3:18-bk-01164-JAB               Doc 279         Filed 07/02/20         Page 14 of 61

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                                                          Cash Receipts and Disbursements Record
Case Number:          18-01164 JAF                                                                   Trustee:                LUIS E. RIVERA II
Case Name:            Eihab H Tawfik MD PA                                                           Bank Name:              Signature Bank
                                                                                                     Account:                ******7558 - Checking
Taxpayer ID#:         ******5340                                                                     Blanket Bond:           $26,699,000.00 (per case limit)
Period:               04/01/19 - 03/31/20                                                            Separate Bond:          N/A

   1            2                       3                                           4                                                 5                    6                   7

 Trans.    Check or                                                                                              Uniform           Receipts          Disbursements         Checking
  Date      Ref. #           Paid To / Received From                    Description of Transaction              Tran. Code            $                    $            Account Balance

05/10/19              Signature Bank                         Account Opening Deposit Adjustment                 9999-000            159,556.76                               159,556.76

05/14/19   Asset #19 Global Surety, LLC                      Refund of unearned balance of Chapter 11           1229-000                   50.00                             159,606.76
                                                             Bond Premium

06/03/19   Asset #6   Sunshine State Health Plan             Medical claim payment per Order (Doc. 200)         1121-000                   86.41                             159,693.17

06/10/19   Asset #6   Stericycle, Steri-Safe Litigation      Medical claim payment per Order (Doc. 200)         1121-000                  131.92                             159,825.09

06/17/19   Asset #6   In re: Stericycle, Steri-Safe          Medical claim payment per Order (Doc. 200)         1121-000                   47.88                             159,872.97
                      Litigation
06/17/19              Law Office of Donald F. Perrin,        Monies received in error. Deposit voided.          1280-000                   85.22                             159,958.19
                      P.A.
06/17/19   Asset #6   Medicaid Disbursement Account          Medical claim payment per Order (Doc. 200)         1121-000                      4.01                           159,962.20

06/17/19              Law Office of Donald F. Perrin,        Monies received in error. Deposit voided.          1280-000                  -85.22                             159,876.98
                      P.A.
07/18/19     1001     U.S. Department of the Treasury        Administrative FUTA Payment (EIN 20-               2690-000                                   1,550.36          158,326.62
                                                             3325340)

07/18/19     1002     FLORIDA DEPARTMENT OF                  3rd Quarter Florida Reemployment Tax (EIN 20       2690-000                                       332.79        157,993.83
                      REVENUE                                -3325340)

07/18/19     1003     Florida Department of Revenue          4th Quarter Florida Reemployment Tax (EIN 20       2690-000                                        49.19        157,944.64
                                                             -3325340)
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                                                      Cash Receipts and Disbursements Record
Case Number:          18-01164 JAF                                                               Trustee:                LUIS E. RIVERA II
Case Name:            Eihab H Tawfik MD PA                                                       Bank Name:              Signature Bank
                                                                                                 Account:                ******7558 - Checking
Taxpayer ID#:         ******5340                                                                 Blanket Bond:           $26,699,000.00 (per case limit)
Period:               04/01/19 - 03/31/20                                                        Separate Bond:          N/A

   1            2                     3                                         4                                                 5                    6                   7

 Trans.    Check or                                                                                          Uniform           Receipts          Disbursements         Checking
  Date      Ref. #          Paid To / Received From                 Description of Transaction              Tran. Code            $                    $            Account Balance

03/04/20     1004     United States Treasury             Additional 2018 Federal unemployment (Form         2690-000                                       460.87        157,483.77
                                                         940) taxes assessed by IRS


                                                                               ACCOUNT TOTALS                                   159,876.98             2,393.21         $157,483.77
                                                                                  Less: Bank Transfers                          159,556.76                 0.00

                                                                               Subtotal                                                320.22          2,393.21
                                                                                  Less: Payment to Debtors                                                 0.00

                                                                               NET Receipts / Disbursements                           $320.22         $2,393.21
                                            Case 3:18-bk-01164-JAB            Doc 279         Filed 07/02/20         Page 16 of 61

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                                                       Cash Receipts and Disbursements Record
Case Number:          18-01164 JAF                                                                Trustee:                LUIS E. RIVERA II
Case Name:            Eihab H Tawfik MD PA                                                        Bank Name:              Union Bank
                                                                                                  Account:                ******1863 - Checking
Taxpayer ID#:         ******5340                                                                  Blanket Bond:           $26,699,000.00 (per case limit)
Period:               04/01/19 - 03/31/20                                                         Separate Bond:          N/A

   1            2                      3                                         4                                                 5                    6                7

 Trans.    Check or                                                                                           Uniform           Receipts          Disbursements      Checking
  Date      Ref. #           Paid To / Received From                 Description of Transaction              Tran. Code            $                    $         Account Balance

10/11/18   Asset #6   United States Treasury              Accounts Receivable from United States             1121-000                      3.24                                  3.24
                                                          Treasury

10/11/18   Asset #6   United States Treasury              Accounts Receivable from United States             1121-000                      3.24                                  6.48
                                                          Treasury

10/11/18   Asset #6   United States Treasury              Accounts Receivable from United States             1121-000                  20.58                                   27.06
                                                          Treasury

10/11/18   Asset #6   Humana                              Accounts Receivable from Humana Per                1121-000                  24.01                                   51.07
                                                          Humana Remittance Number
                                                          201809245062333

10/11/18   Asset #6   Humana                              Accounts Receivable from Humana Per                1121-000               1,032.66                                 1,083.73
                                                          Humana Remittance Number
                                                          201809170023220

10/11/18   Asset #6   Humana                              Accounts Receivable from Humana Per                1121-000                  95.47                                 1,179.20
                                                          Humana Remittance number
                                                          201809175050980

10/11/18   Asset #6   Humana                              Accounts Receivable from Humana Per                1121-000               2,909.20                                 4,088.40
                                                          Remittance number 201809175049508

10/11/18   Asset #6   Humana                              Accounts Receivable from Humana Per                1121-000                      8.35                              4,096.75
                                                          Humana Remittance Number
                                                          201809200008764

10/11/18   Asset #6   Patricia D. Ridley                  Accounts Receivable from Patricia D. Ridley        1121-000                  10.00                                 4,106.75
                                                          Apply to Account 30476
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                                                      Cash Receipts and Disbursements Record
Case Number:          18-01164 JAF                                                                   Trustee:                LUIS E. RIVERA II
Case Name:            Eihab H Tawfik MD PA                                                           Bank Name:              Union Bank
                                                                                                     Account:                ******1863 - Checking
Taxpayer ID#:         ******5340                                                                     Blanket Bond:           $26,699,000.00 (per case limit)
Period:               04/01/19 - 03/31/20                                                            Separate Bond:          N/A

   1            2                     3                                             4                                                 5                    6                   7

 Trans.    Check or                                                                                              Uniform           Receipts          Disbursements         Checking
  Date      Ref. #          Paid To / Received From                     Description of Transaction              Tran. Code            $                    $            Account Balance

10/11/18   Asset #6   PPS Elec Pmt Clearing House        Accounts Receivable from PPS Elec Pmt                  1121-000                      8.35                                 4,115.10
                      Trust                              Clearing House Trust

10/19/18              M.D. P.A. Eihab H. Tawfik          Distribution of surplus funds to debtor. Reversal      8200-000                                   -4,115.10               8,230.20
                                                         Trustee error while running wage payment.

10/19/18     3001     M.D. P.A. Eihab H. Tawfik          Distribution of surplus funds to debtor.               8200-000                                   4,115.10                4,115.10

10/22/18     3002     Dana N. Burke                      Post-Petition Wages per Order Granting Motion          2690-000                                       797.02              3,318.08
                                                         to Operate (Doc. 200)

10/22/18     3003     Maureen Lindsey                    Post-Petition Wages per Order Granting Motion          2690-000                                   1,000.00                2,318.08
                                                         to Operate (Doc. 200)

10/22/18     3004     Veronica Galarza                   Post-Petition Wages per Order Granting Motion          2690-000                                       358.78              1,959.30
                                                         to Operate (Doc. 200)

10/22/18     3005     INTERNAL REVENUE SERVICE           Distribution                                                                                           19.58              1,939.72

10/22/18              INTERNAL REVENUE SERVICE           EMPLOYER MATCHING                               13.95 2690-000                                                            1,939.72
                                                         MEDICARE

10/22/18              INTERNAL REVENUE SERVICE           EMPLOYER MATCHING                                5.63 2690-000                                                            1,939.72
                                                         MEDICARE

10/22/18     3006     INTERNAL REVENUE SERVICE           Distribution                                                                                           83.73              1,855.99

10/22/18              INTERNAL REVENUE SERVICE           EMPLOYER MATCHING                               59.64 2690-000                                                            1,855.99
                                                         SOCIAL SECURITY
                                             Case 3:18-bk-01164-JAB              Doc 279         Filed 07/02/20         Page 18 of 61

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                                                      Cash Receipts and Disbursements Record
Case Number:          18-01164 JAF                                                                   Trustee:                LUIS E. RIVERA II
Case Name:            Eihab H Tawfik MD PA                                                           Bank Name:              Union Bank
                                                                                                     Account:                ******1863 - Checking
Taxpayer ID#:         ******5340                                                                     Blanket Bond:           $26,699,000.00 (per case limit)
Period:               04/01/19 - 03/31/20                                                            Separate Bond:          N/A

   1            2                        3                                          4                                                 5                    6                  7

 Trans.    Check or                                                                                              Uniform           Receipts          Disbursements        Checking
  Date      Ref. #          Paid To / Received From                     Description of Transaction              Tran. Code            $                    $           Account Balance

10/22/18              INTERNAL REVENUE SERVICE           EMPLOYER MATCHING                               24.09 2690-000                                                           1,855.99
                                                         SOCIAL SECURITY

10/22/18     3007     INTERNAL REVENUE SERVICE           Post-Petition Wages per Order Granting Motion          2690-000                                       91.39              1,764.60
                                                         to Operate

10/22/18     3008     FEDERAL UNEMPLOYMENT               Distribution; Voided on 03/07/2019                                                                    46.59              1,718.01
                      INSURANCE
10/22/18              FEDERAL UNEMPLOYMENT               FEDERAL UNEMPLOYMENT                            33.19 2690-000                                                           1,718.01
                      INSURANCE                          INSURANCE

10/22/18              FEDERAL UNEMPLOYMENT               FEDERAL UNEMPLOYMENT                            13.40 2690-000                                                           1,718.01
                      INSURANCE                          INSURANCE

10/22/18     3009     INTERNAL REVENUE SERVICE           Distribution                                                                                          19.58              1,698.43

10/22/18              INTERNAL REVENUE SERVICE           MEDICARE                                        13.95 2690-000                                                           1,698.43

10/22/18              INTERNAL REVENUE SERVICE           MEDICARE                                         5.63 2690-000                                                           1,698.43

10/22/18     3010     INTERNAL REVENUE SERVICE           Distribution                                                                                          83.73              1,614.70

10/22/18              INTERNAL REVENUE SERVICE           SOCIAL SECURITY                                 24.09 2690-000                                                           1,614.70

10/22/18              INTERNAL REVENUE SERVICE           SOCIAL SECURITY                                 59.64 2690-000                                                           1,614.70

10/30/18   Asset #13 Regions Bank                        Receipt of balance of funds from Regions Bank          1290-010              10,912.11                              12,526.81
                                                         Account #xx8988

10/31/18   Asset #6   Michele R. Grant                   Accounts Receivable from Michele R. Grant              1121-000                  10.00                              12,536.81
                                                         (28169)
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                                                      Cash Receipts and Disbursements Record
Case Number:          18-01164 JAF                                                               Trustee:                LUIS E. RIVERA II
Case Name:            Eihab H Tawfik MD PA                                                       Bank Name:              Union Bank
                                                                                                 Account:                ******1863 - Checking
Taxpayer ID#:         ******5340                                                                 Blanket Bond:           $26,699,000.00 (per case limit)
Period:               04/01/19 - 03/31/20                                                        Separate Bond:          N/A

   1            2                        3                                      4                                                 5                    6                7

 Trans.    Check or                                                                                          Uniform           Receipts          Disbursements      Checking
  Date      Ref. #          Paid To / Received From                 Description of Transaction              Tran. Code            $                    $         Account Balance

10/31/18   Asset #6   Salvatore Zito                     Accounts Receivable from Salvatore Zito            1121-000                   50.00                           12,586.81
                                                         Acct #29127

10/31/18   Asset #6   Salvatore Zito                     Accounts Receivable from Salvatore Zito            1121-000                   50.00                           12,636.81
                                                         Acct 29127

10/31/18   Asset #6   P. Martin Luther                   Accounts Receivable from P. Martin Luther          1121-000                  150.00                           12,786.81

10/31/18   Asset #6   Jullia Perosino                    Accounts Receivable from Julia Perosino            1121-000                   40.00                           12,826.81

10/31/18   Asset #6   United States Treasury             Accounts Receivable from United States             1121-000                   20.58                           12,847.39
                                                         Treasury

10/31/18   Asset #6   United States Treasury             Accounts Receivable from United States             1121-000                   21.43                           12,868.82
                                                         Treasury

10/31/18   Asset #6   United States Treasury             Accounts Receivable from United States             1121-000                   13.94                           12,882.76
                                                         Treasury

10/31/18   Asset #6   United States Treasury             Accounts Receivable from United States             1121-000                   20.58                           12,903.34
                                                         Treasury

10/31/18   Asset #6   Lornaora A. Lunda and David W.     Accounts Receivable from Lornora A. Lundy          1121-000                   18.29                           12,921.63
                      Lundy                              Account No. 32981

10/31/18   Asset #6   Withlacoochee River Electric       Accounts Receivable from Withlacoochee River       1121-000                  156.12                           13,077.75
                      Cooperative, Inc.                  Electric Cooperative, Inc.

10/31/18   Asset #6   Withlacoochee River Electric       Accounts Receivable from Withlacoochee River       1121-000                   12.73                           13,090.48
                      Cooperative, Inc.                  Electric Cooperative, Inc.
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                                                       Cash Receipts and Disbursements Record
Case Number:          18-01164 JAF                                                                    Trustee:                LUIS E. RIVERA II
Case Name:            Eihab H Tawfik MD PA                                                            Bank Name:              Union Bank
                                                                                                      Account:                ******1863 - Checking
Taxpayer ID#:         ******5340                                                                      Blanket Bond:           $26,699,000.00 (per case limit)
Period:               04/01/19 - 03/31/20                                                             Separate Bond:          N/A

   1            2                     3                                              4                                                 5                    6                   7

 Trans.    Check or                                                                                               Uniform           Receipts          Disbursements         Checking
  Date      Ref. #          Paid To / Received From                      Description of Transaction              Tran. Code            $                    $            Account Balance

10/31/18   Asset #6   BlueCross BlueShield of             Accounts Receivable from BlueCross                     1121-000                  20.63                               13,111.11
                      Tennessee                           BlueShield of Tennessee
                                                          Internal Provider No 1394684

10/31/18   Asset #6   State of Florida Department of      Accounts Receivable from State of Florida              1121-000                  14.00                               13,125.11
                      Financial Services                  Department of Financial Services

10/31/18     3011     Veronica Galarza                    Post-Petition Wages per Order Granting Motion          2690-000                                       639.98         12,485.13
                                                          to Operate (Doc. 200)

10/31/18     3012     Dana N. Burke                       Post-Petition Wages per Order Granting Motion          2690-000                                       723.98         11,761.15
                                                          to Operate (Doc. 200)

10/31/18     3013     INTERNAL REVENUE SERVICE            Distribution                                                                                           22.68         11,738.47

10/31/18              INTERNAL REVENUE SERVICE            EMPLOYER MATCHING                               12.63 2690-000                                                       11,738.47
                                                          MEDICARE

10/31/18              INTERNAL REVENUE SERVICE            EMPLOYER MATCHING                               10.05 2690-000                                                       11,738.47
                                                          MEDICARE

10/31/18     3014     INTERNAL REVENUE SERVICE            Distribution                                                                                           96.97         11,641.50

10/31/18              INTERNAL REVENUE SERVICE            EMPLOYER MATCHING                               42.97 2690-000                                                       11,641.50
                                                          SOCIAL SECURITY

10/31/18              INTERNAL REVENUE SERVICE            EMPLOYER MATCHING                               54.00 2690-000                                                       11,641.50
                                                          SOCIAL SECURITY

10/31/18     3015     INTERNAL REVENUE SERVICE            Final distribution representing a payment of           2690-000                                        80.39         11,561.11
                                                          100.00 % per court order.
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                                                      Cash Receipts and Disbursements Record
Case Number:          18-01164 JAF                                                                   Trustee:                LUIS E. RIVERA II
Case Name:            Eihab H Tawfik MD PA                                                           Bank Name:              Union Bank
                                                                                                     Account:                ******1863 - Checking
Taxpayer ID#:         ******5340                                                                     Blanket Bond:           $26,699,000.00 (per case limit)
Period:               04/01/19 - 03/31/20                                                            Separate Bond:          N/A

   1            2                        3                                          4                                                 5                    6                  7

 Trans.    Check or                                                                                              Uniform           Receipts          Disbursements        Checking
  Date      Ref. #          Paid To / Received From                     Description of Transaction              Tran. Code            $                    $           Account Balance

10/31/18     3016     FEDERAL UNEMPLOYMENT               Distribution; Voided on 03/07/2019                                                                    53.96         11,507.15
                      INSURANCE
10/31/18              FEDERAL UNEMPLOYMENT               FEDERAL UNEMPLOYMENT                            30.05 2690-000                                                      11,507.15
                      INSURANCE                          INSURANCE

10/31/18              FEDERAL UNEMPLOYMENT               FEDERAL UNEMPLOYMENT                            23.91 2690-000                                                      11,507.15
                      INSURANCE                          INSURANCE

10/31/18     3017     INTERNAL REVENUE SERVICE           Distribution                                                                                          22.68         11,484.47

10/31/18              INTERNAL REVENUE SERVICE           MEDICARE                                        10.05 2690-000                                                      11,484.47

10/31/18              INTERNAL REVENUE SERVICE           MEDICARE                                        12.63 2690-000                                                      11,484.47

10/31/18     3018     INTERNAL REVENUE SERVICE           Distribution                                                                                          96.97         11,387.50

10/31/18              INTERNAL REVENUE SERVICE           SOCIAL SECURITY                                 42.97 2690-000                                                      11,387.50

10/31/18              INTERNAL REVENUE SERVICE           SOCIAL SECURITY                                 54.00 2690-000                                                      11,387.50

11/05/18   Asset #1   CenterState                        Receipt of balance of funds from CenterState           1290-010               1,752.77                              13,140.27
                                                         Bank

11/05/18   Asset #5   CenterState                        Receipt of balance of funds from CenterState           1290-000               5,315.15                              18,455.42
                                                         Bank

11/07/18   Asset #6   Michele R. Grant                   Accounts Receivable from Michele R. Grant              1121-000                  40.00                              18,495.42
                                                         (28169)
                                                         Account #28169
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                                                       Cash Receipts and Disbursements Record
Case Number:          18-01164 JAF                                                                 Trustee:                LUIS E. RIVERA II
Case Name:            Eihab H Tawfik MD PA                                                         Bank Name:              Union Bank
                                                                                                   Account:                ******1863 - Checking
Taxpayer ID#:         ******5340                                                                   Blanket Bond:           $26,699,000.00 (per case limit)
Period:               04/01/19 - 03/31/20                                                          Separate Bond:          N/A

   1            2                      3                                          4                                                 5                    6                  7

 Trans.    Check or                                                                                            Uniform           Receipts          Disbursements        Checking
  Date      Ref. #           Paid To / Received From                  Description of Transaction              Tran. Code            $                    $           Account Balance

11/07/18   Asset #6   United States Treasury              Accounts Receivable from United States              1121-000                   13.94                             18,509.36
                                                          Treasury

11/07/18   Asset #6   Patricia D. Ridley                  Accounts Receivable from Patricia D. Ridley         1121-000                   10.00                             18,519.36
                                                          Account #30476

11/07/18   Asset #6   Tricare Payment Wisconsin           Accounts Receivable from Tricare Payment            1121-000                  174.04                             18,693.40
                      Physicians Service Insurance        Wisonconsin Physicians Service Insurance
                      Corpo                               Corp

11/07/18   Asset #6   The Cincinnati Life Insurance       Accounts Receivable from The Cincinnati Life        1121-000                  133.60                             18,827.00
                      Company                             Insurance Company

11/15/18              U.S. Bankruptcy Court Clerk         Remit to Court Reversal Withholding                                                                -9.04         18,836.04
                                                          contributions inadvertently made payable to
                                                          Clerk because less than $5. Will reissue check
                                                          to IRS.

11/15/18              INTERNAL REVENUE SERVICE            MEDICARE Withholding                          -4.52 2690-000                                                     18,836.04
                                                          contributions inadvertently
                                                          made payable to Clerk
                                                          because less than $5. Will
                                                          reissue check to IRS.

11/15/18              INTERNAL REVENUE SERVICE            EMPLOYER MATCHING                             -4.52 2690-000                                                     18,836.04
                                                          MEDICARE Withholding
                                                          contributions inadvertently
                                                          made payable to Clerk
                                                          because less than $5. Will
                                                          reissue check to IRS.

11/15/18     3019     Linda M. Kettenacker                Reimburse operating expense per Order (Doc.         2690-000                                       41.02         18,795.02
                                                          196)
                                            Case 3:18-bk-01164-JAB               Doc 279         Filed 07/02/20         Page 23 of 61

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                                                      Cash Receipts and Disbursements Record
Case Number:          18-01164 JAF                                                                   Trustee:                LUIS E. RIVERA II
Case Name:            Eihab H Tawfik MD PA                                                           Bank Name:              Union Bank
                                                                                                     Account:                ******1863 - Checking
Taxpayer ID#:         ******5340                                                                     Blanket Bond:           $26,699,000.00 (per case limit)
Period:               04/01/19 - 03/31/20                                                            Separate Bond:          N/A

   1            2                     3                                             4                                                 5                    6                   7

 Trans.    Check or                                                                                              Uniform           Receipts          Disbursements         Checking
  Date      Ref. #          Paid To / Received From                     Description of Transaction              Tran. Code            $                    $            Account Balance

11/15/18     3020     Dana N. Burke                      Distribution                                                                                      1,019.53           17,775.49

11/15/18              Dana N. Burke                      Final distribution creditor                    748.55 2690-000                                                       17,775.49
                                                         account # representing a
                                                         payment of 100.00 % per
                                                         court order.

11/15/18              Dana N. Burke                      Final distribution creditor                    270.98 2690-000                                                       17,775.49
                                                         account # representing a
                                                         payment of 100.00 % per
                                                         court order.

11/15/18     3021     Veronica Galarza                   Final distribution creditor account #                  2690-000                                       683.62         17,091.87
                                                         representing a payment of 100.00 % per court
                                                         order.

11/15/18     3022     INTERNAL REVENUE SERVICE           Distribution                                                                                           23.83         17,068.04

11/15/18              INTERNAL REVENUE SERVICE           EMPLOYER MATCHING                               13.10 2690-000                                                       17,068.04
                                                         MEDICARE

11/15/18              INTERNAL REVENUE SERVICE           EMPLOYER MATCHING                               10.73 2690-000                                                       17,068.04
                                                         MEDICARE

11/15/18     3023     U.S. Bankruptcy Court Clerk        Remit to Court DIVIDENDS REMITTED TO                                                                    9.04         17,059.00
                                                         THE COURT
                                                         ITEM # CLAIM # DIVIDEND
                                                         ==================================
                                                            6               4.52
                                                            13               4.52
                                                            17               4.52
                                            Case 3:18-bk-01164-JAB               Doc 279         Filed 07/02/20         Page 24 of 61

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                                                      Cash Receipts and Disbursements Record
Case Number:          18-01164 JAF                                                                   Trustee:                LUIS E. RIVERA II
Case Name:            Eihab H Tawfik MD PA                                                           Bank Name:              Union Bank
                                                                                                     Account:                ******1863 - Checking
Taxpayer ID#:         ******5340                                                                     Blanket Bond:           $26,699,000.00 (per case limit)
Period:               04/01/19 - 03/31/20                                                            Separate Bond:          N/A

   1            2                     3                                             4                                                 5                    6                   7

 Trans.    Check or                                                                                              Uniform           Receipts          Disbursements         Checking
  Date      Ref. #          Paid To / Received From                     Description of Transaction              Tran. Code            $                    $            Account Balance

11/15/18              INTERNAL REVENUE SERVICE           MEDICARE                                         4.52 2690-000                                                       17,059.00

11/15/18              INTERNAL REVENUE SERVICE           EMPLOYER MATCHING                                4.52 2690-001                                                       17,059.00
                                                         MEDICARE DIVIDENDS
                                                         REMITTED TO THE COURT
                                                         ITEM # CLAIM # DIVIDEND
                                                         ======================
                                                         ============
                                                            13            4.52
                                                            17            4.52


11/15/18     3024     INTERNAL REVENUE SERVICE           Distribution                                                                                          121.26         16,937.74

11/15/18              INTERNAL REVENUE SERVICE           EMPLOYER MATCHING                               45.90 2690-000                                                       16,937.74
                                                         SOCIAL SECURITY

11/15/18              INTERNAL REVENUE SERVICE           EMPLOYER MATCHING                               56.02 2690-000                                                       16,937.74
                                                         SOCIAL SECURITY

11/15/18              INTERNAL REVENUE SERVICE           EMPLOYER MATCHING                               19.34 2690-000                                                       16,937.74
                                                         SOCIAL SECURITY

11/15/18     3025     INTERNAL REVENUE SERVICE           Quarterly Payroll Tax Form 941 4th Quarter                                                            102.99         16,834.75
                                                         2018, EIN XX-XXXXXXX

11/15/18              INTERNAL REVENUE SERVICE           FEDERAL INCOME TAX                              17.16 2690-000                                                       16,834.75
                                                         Form 941 4th Quarter 2018,
                                                         EIN XX-XXXXXXX

11/15/18              INTERNAL REVENUE SERVICE           FEDERAL INCOME TAX                              85.83 2690-000                                                       16,834.75
                                                         Form 941 4th Quarter 2018,
                                                         EIN XX-XXXXXXX
                                            Case 3:18-bk-01164-JAB           Doc 279          Filed 07/02/20        Page 25 of 61

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                                                      Cash Receipts and Disbursements Record
Case Number:          18-01164 JAF                                                               Trustee:                LUIS E. RIVERA II
Case Name:            Eihab H Tawfik MD PA                                                       Bank Name:              Union Bank
                                                                                                 Account:                ******1863 - Checking
Taxpayer ID#:         ******5340                                                                 Blanket Bond:           $26,699,000.00 (per case limit)
Period:               04/01/19 - 03/31/20                                                        Separate Bond:          N/A

   1            2                     3                                         4                                                 5                    6                   7

 Trans.    Check or                                                                                          Uniform           Receipts          Disbursements         Checking
  Date      Ref. #          Paid To / Received From                 Description of Transaction              Tran. Code            $                    $            Account Balance

11/15/18     3026     FEDERAL UNEMPLOYMENT               Distribution; Voided on 03/07/2019                                                                 67.47         16,767.28
                      INSURANCE
11/15/18              FEDERAL UNEMPLOYMENT               FEDERAL UNEMPLOYMENT                        31.17 2690-000                                                       16,767.28
                      INSURANCE                          INSURANCE

11/15/18              FEDERAL UNEMPLOYMENT               FEDERAL UNEMPLOYMENT                        10.76 2690-000                                                       16,767.28
                      INSURANCE                          INSURANCE

11/15/18              FEDERAL UNEMPLOYMENT               FEDERAL UNEMPLOYMENT                        25.54 2690-000                                                       16,767.28
                      INSURANCE                          INSURANCE

11/15/18     3027     INTERNAL REVENUE SERVICE           Quarterly Payroll Tax Form 941 4th Quarter                                                         23.83         16,743.45
                                                         2018, EIN XX-XXXXXXX

11/15/18              INTERNAL REVENUE SERVICE           MEDICARE Form 941 4th                       13.10 2690-000                                                       16,743.45
                                                         Quarter 2018, EIN 20-
                                                         3325340

11/15/18              INTERNAL REVENUE SERVICE           MEDICARE Form 941 4th                       10.73 2690-000                                                       16,743.45
                                                         Quarter 2018, EIN 20-
                                                         3325340

11/15/18     3028     INTERNAL REVENUE SERVICE           Quarterly Payroll Tax Form 941 4th Quarter                                                        121.26         16,622.19
                                                         2018, EIN XX-XXXXXXX

11/15/18              INTERNAL REVENUE SERVICE           SOCIAL SECURITY Form                        45.90 2690-000                                                       16,622.19
                                                         941 4th Quarter 2018, EIN 20
                                                         -3325340

11/15/18              INTERNAL REVENUE SERVICE           SOCIAL SECURITY Form                        19.34 2690-000                                                       16,622.19
                                                         941 4th Quarter 2018, EIN 20
                                                         -3325340
                                              Case 3:18-bk-01164-JAB         Doc 279         Filed 07/02/20         Page 26 of 61

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                                                      Cash Receipts and Disbursements Record
Case Number:          18-01164 JAF                                                               Trustee:                LUIS E. RIVERA II
Case Name:            Eihab H Tawfik MD PA                                                       Bank Name:              Union Bank
                                                                                                 Account:                ******1863 - Checking
Taxpayer ID#:         ******5340                                                                 Blanket Bond:           $26,699,000.00 (per case limit)
Period:               04/01/19 - 03/31/20                                                        Separate Bond:          N/A

   1            2                         3                                     4                                                 5                    6                  7

 Trans.    Check or                                                                                          Uniform           Receipts          Disbursements        Checking
  Date      Ref. #          Paid To / Received From                 Description of Transaction              Tran. Code            $                    $           Account Balance

11/15/18              INTERNAL REVENUE SERVICE           SOCIAL SECURITY Form                        56.02 2690-000                                                      16,622.19
                                                         941 4th Quarter 2018, EIN 20
                                                         -3325340

11/15/18     3029     INTERNAL REVENUE SERVICE           Quarterly Payroll Tax Form 941 4th Quarter                                                         9.04         16,613.15
                                                         2018, EIN XX-XXXXXXX

11/15/18              INTERNAL REVENUE SERVICE           MEDICARE Form 941 4th                        4.52 2690-000                                                      16,613.15
                                                         Quarter 2018, EIN 20-
                                                         3325340

11/15/18              INTERNAL REVENUE SERVICE           EMPLOYER MATCHING                            4.52 2690-000                                                      16,613.15
                                                         MEDICARE Form 941 4th
                                                         Quarter 2018, EIN 20-
                                                         3325340

11/20/18   Asset #6   P. Martin Luther                   Accounts Receivable from P. Martin Luther          1121-000                  -150.00                            16,463.15
                                                         Reversal
                                                         Deposit item returned; Payee placed a stop
                                                         payment on the check; Will reverse the deposit

11/26/18              Union Bank                         Bank Service Fee under 1186&330(a)(1)       2600-000                                       15.00         16,448.15
                                                         (B), 503(b)(1), and 507(a)(2)

11/28/18   Asset #9   Perrin C. Klersy for Phycon        Liquidation of Various medical equipment           1229-000              12,000.00                              28,448.15
                      Medical, Inc.
12/04/18   Asset #14 Khouri Law Firm APC                 Avoidance Claim                                    1241-000              70,000.00                              98,448.15

12/14/18   Asset #6   Patricia D Ridley                  Accounts Receivable from Patricia D. Ridley        1121-000                   10.00                             98,458.15
                                                         Account #30476
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                                                       Cash Receipts and Disbursements Record
Case Number:          18-01164 JAF                                                                Trustee:                LUIS E. RIVERA II
Case Name:            Eihab H Tawfik MD PA                                                        Bank Name:              Union Bank
                                                                                                  Account:                ******1863 - Checking
Taxpayer ID#:         ******5340                                                                  Blanket Bond:           $26,699,000.00 (per case limit)
Period:               04/01/19 - 03/31/20                                                         Separate Bond:          N/A

   1            2                      3                                         4                                                 5                    6                  7

 Trans.    Check or                                                                                           Uniform           Receipts          Disbursements        Checking
  Date      Ref. #           Paid To / Received From                 Description of Transaction              Tran. Code            $                    $           Account Balance

12/14/18   Asset #6   Wellcare of Florida, Inc.           Accounts Receivable from Wellcare of Florida,      1121-000                      0.24                           98,458.39
                                                          Inc.

12/14/18   Asset #6   Wellcare of Florida, Inc.           Accounts Receivable from Wellcare of Florida,      1121-000                      0.24                           98,458.63
                                                          Inc.

12/14/18   Asset #6   PPS Elec Pmt Clearing House         Accounts Receivable from PPS Elec Pmt              1121-000               6,847.60                             105,306.23
                      Trust                               Clearing House Trust
                                                          Electronic Claim #13315

12/21/18   Asset #6   BlueCross BlueShield of             Accounts Receivable from BlueCross                 1121-000               2,031.82                             107,338.05
                      Tennessee, Inc.                     BlueShield of Tennessee
                                                          to Kenneth R. Pearlberg, MD
                                                          TIN 203325340

12/26/18              Union Bank                          Bank Service Fee under 1186&330(a)(1)       2600-000                                       27.08        107,310.97
                                                          (B), 503(b)(1), and 507(a)(2)

01/18/19   Asset #6   State Mutual Insurance Company      Accounts Receivable from State Mutual              1121-000                      8.35                          107,319.32
                                                          Insurance Company
                                                          EOC: Ritrovato, Agnes B.

01/18/19   Asset #6   EPS Operations / MN015-2850         Accounts Receivable from EPS Operations            1121-000                      8.35                          107,327.67
                                                          Lightsey, Bobby G.

01/24/19   Asset #6   WellMed Network of Florida, Inc.    Accounts Receivable from WellMed Network of        1121-000                  104.75                            107,432.42
                                                          Florida, Inc.
                                                          Re: Dunn, Johnnie B.
                                                          Claim #180321924852
                                            Case 3:18-bk-01164-JAB            Doc 279         Filed 07/02/20         Page 28 of 61

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                                                       Cash Receipts and Disbursements Record
Case Number:          18-01164 JAF                                                                Trustee:                LUIS E. RIVERA II
Case Name:            Eihab H Tawfik MD PA                                                        Bank Name:              Union Bank
                                                                                                  Account:                ******1863 - Checking
Taxpayer ID#:         ******5340                                                                  Blanket Bond:           $26,699,000.00 (per case limit)
Period:               04/01/19 - 03/31/20                                                         Separate Bond:          N/A

   1            2                      3                                         4                                                 5                    6                   7

 Trans.    Check or                                                                                           Uniform           Receipts          Disbursements         Checking
  Date      Ref. #           Paid To / Received From                 Description of Transaction              Tran. Code            $                    $            Account Balance

01/24/19   Asset #6   Philadelphia American Insurance     Accounts Receivable from Philadelphia              1121-000                   20.58                             107,453.00
                      Company                             American Life Insurance Company
                                                          Claimant: Hill, Bonita A.
                                                          Policy #6071104270

01/24/19   Asset #6   Wisconsin Physicians Service        Accounts Receivable from Wisconsin                 1121-000                      1.00                           107,454.00
                      Insurance Corporation               Physicians Service Insurance Corp
                                                          Re: Armando L. Senson
                                                          Claim #2018032 8072304

01/24/19   Asset #6   Wellcare of Florida, Inc.           Accounts Receivable from Wellcare of Florida,      1121-000                      1.18                           107,455.18
                                                          Inc.

01/24/19   Asset #6   Wellcare of Florida, Inc.           Accounts Receivable from Wellcare of Florida,      1121-000                      0.24                           107,455.42
                                                          Inc.

01/25/19              Union Bank                          Bank Service Fee under 1186&330(a)(1)       2600-000                                       140.17        107,315.25
                                                          (B), 503(b)(1), and 507(a)(2)

01/28/19   Asset #6   Frank Discosola Atty at Law         Accounts Receivable from Frank Dicosola Atty       1121-000                      4.00                           107,319.25
                                                          at Law
                                                          Re: Patient Julie Coonse
                                                          Account No. 11356
                                                          DOA: 8/17/2016

01/28/19   Asset #6   Withlawcoochee River Electric       Accounts Receivable from Withlacoochee River       1121-000                  965.63                             108,284.88
                      Cooperative, Inc.                   Electric Cooperative, Inc.
                                                          Account No. 1555453

01/30/19   Asset #6   Mary Arana-Anderson OR Allen        Accounts Receivable from Mary Arana-               1121-000                   25.00                             108,309.88
                      Arana                               Anderson
                                                          Account No. 21484
                                             Case 3:18-bk-01164-JAB            Doc 279         Filed 07/02/20         Page 29 of 61

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                                                       Cash Receipts and Disbursements Record
Case Number:           18-01164 JAF                                                                Trustee:                LUIS E. RIVERA II
Case Name:             Eihab H Tawfik MD PA                                                        Bank Name:              Union Bank
                                                                                                   Account:                ******1863 - Checking
Taxpayer ID#:          ******5340                                                                  Blanket Bond:           $26,699,000.00 (per case limit)
Period:                04/01/19 - 03/31/20                                                         Separate Bond:          N/A

   1            2                      3                                          4                                                 5                    6                   7

 Trans.     Check or                                                                                           Uniform           Receipts          Disbursements         Checking
  Date       Ref. #          Paid To / Received From                  Description of Transaction              Tran. Code            $                    $            Account Balance

01/30/19   Asset #6    Clear Health Alliance              Accounts Receivable from Clear Heath Alliance       1121-000                  13.18                              108,323.06
                                                          Patient: James Nuckols, Jr.
                                                          Claim No.: 18298E13700

02/05/19   Asset #15 State of Florida Department of       Abandoned Accounts Receivable turned over           1229-000               5,879.20                              114,202.26
                     Financial Services                   by State of Florida Department of Financial
                                                          Services

02/25/19               Union Bank                         Bank Service Fee under 1186&330(a)(1)        2600-000                                       161.41        114,040.85
                                                          (B), 503(b)(1), and 507(a)(2)

03/07/19               INTERNAL REVENUE SERVICE           Distribution Reversal Check stale. Will reissue.                                                   -19.58        114,060.43

03/07/19               INTERNAL REVENUE SERVICE           EMPLOYER MATCHING                           -13.95 2690-000                                                      114,060.43
                                                          MEDICARE Check stale. Will
                                                          reissue.

03/07/19               INTERNAL REVENUE SERVICE           EMPLOYER MATCHING                             -5.63 2690-000                                                     114,060.43
                                                          MEDICARE Check stale. Will
                                                          reissue.

03/07/19               INTERNAL REVENUE SERVICE           Distribution Reversal Check stale. Will reissue.                                                   -83.73        114,144.16

03/07/19               INTERNAL REVENUE SERVICE           EMPLOYER MATCHING                           -24.09 2690-000                                                      114,144.16
                                                          SOCIAL SECURITY Check
                                                          stale. Will reissue.

03/07/19               INTERNAL REVENUE SERVICE           EMPLOYER MATCHING                           -59.64 2690-000                                                      114,144.16
                                                          SOCIAL SECURITY Check
                                                          stale. Will reissue.
                                            Case 3:18-bk-01164-JAB            Doc 279         Filed 07/02/20         Page 30 of 61

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                                                      Cash Receipts and Disbursements Record
Case Number:          18-01164 JAF                                                                Trustee:                LUIS E. RIVERA II
Case Name:            Eihab H Tawfik MD PA                                                        Bank Name:              Union Bank
                                                                                                  Account:                ******1863 - Checking
Taxpayer ID#:         ******5340                                                                  Blanket Bond:           $26,699,000.00 (per case limit)
Period:               04/01/19 - 03/31/20                                                         Separate Bond:          N/A

   1            2                     3                                          4                                                 5                    6                   7

 Trans.    Check or                                                                                           Uniform           Receipts          Disbursements         Checking
  Date      Ref. #          Paid To / Received From                  Description of Transaction              Tran. Code            $                    $            Account Balance

03/07/19              INTERNAL REVENUE SERVICE           Post-Petition Wages per Order Granting Motion       2690-000                                       -91.39        114,235.55
                                                         to Operate Reversal
                                                         Check stale. Will reissue.

03/07/19              INTERNAL REVENUE SERVICE           Distribution Reversal Check stale. Will reissue.                                                   -19.58        114,255.13

03/07/19              INTERNAL REVENUE SERVICE           MEDICARE Check stale. Will                  -13.95 2690-000                                                      114,255.13
                                                         reissue.

03/07/19              INTERNAL REVENUE SERVICE           MEDICARE Check stale. Will                    -5.63 2690-000                                                     114,255.13
                      D                                  reissue.

03/07/19              INTERNAL REVENUE SERVICE           Distribution Reversal Check stale. Will reissue.                                                   -83.73        114,338.86

03/07/19              INTERNAL REVENUE SERVICE           SOCIAL SECURITY Check                       -24.09 2690-000                                                      114,338.86
                                                         stale. Will reissue.

03/07/19              INTERNAL REVENUE SERVICE           SOCIAL SECURITY Check                       -59.64 2690-000                                                      114,338.86
                      A                                  stale. Will reissue.

03/07/19              INTERNAL REVENUE SERVICE           Distribution Reversal Check Stale; Will reissue                                                    -22.68        114,361.54

03/07/19              INTERNAL REVENUE SERVICE           EMPLOYER MATCHING                           -12.63 2690-000                                                      114,361.54
                                                         MEDICARE Check Stale; Will
                                                         reissue

03/07/19              INTERNAL REVENUE SERVICE           EMPLOYER MATCHING                           -10.05 2690-000                                                      114,361.54
                                                         MEDICARE Check Stale; Will
                                                         reissue

03/07/19              INTERNAL REVENUE SERVICE           Distribution Reversal Check Stale; Will reissue                                                    -96.97        114,458.51
                                            Case 3:18-bk-01164-JAB            Doc 279         Filed 07/02/20         Page 31 of 61

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                                                      Cash Receipts and Disbursements Record
Case Number:          18-01164 JAF                                                                Trustee:                LUIS E. RIVERA II
Case Name:            Eihab H Tawfik MD PA                                                        Bank Name:              Union Bank
                                                                                                  Account:                ******1863 - Checking
Taxpayer ID#:         ******5340                                                                  Blanket Bond:           $26,699,000.00 (per case limit)
Period:               04/01/19 - 03/31/20                                                         Separate Bond:          N/A

   1            2                     3                                          4                                                 5                    6                   7

 Trans.    Check or                                                                                           Uniform           Receipts          Disbursements         Checking
  Date      Ref. #          Paid To / Received From                  Description of Transaction              Tran. Code            $                    $            Account Balance

03/07/19              INTERNAL REVENUE SERVICE           EMPLOYER MATCHING                           -54.00 2690-000                                                      114,458.51
                                                         SOCIAL SECURITY Check
                                                         Stale; Will reissue

03/07/19              INTERNAL REVENUE SERVICE           EMPLOYER MATCHING                           -42.97 2690-000                                                      114,458.51
                                                         SOCIAL SECURITY Check
                                                         Stale; Will reissue

03/07/19              INTERNAL REVENUE SERVICE           Final distribution representing a payment of        2690-000                                       -80.39        114,538.90
                                                         100.00 % per court order. Reversal
                                                         Check Stale; Will reissue

03/07/19              INTERNAL REVENUE SERVICE           Distribution Reversal Check Stale; Will reissue                                                    -22.68        114,561.58

03/07/19              INTERNAL REVENUE SERVICE           MEDICARE Check Stale; Will                  -12.63 2690-000                                                      114,561.58
                                                         reissue

03/07/19              INTERNAL REVENUE SERVICE           MEDICARE Check Stale; Will                  -10.05 2690-000                                                      114,561.58
                                                         reissue

03/07/19              INTERNAL REVENUE SERVICE           Distribution Reversal Check Stale; Will reissue                                                    -96.97        114,658.55

03/07/19              Dana N. Burke                      SOCIAL SECURITY Check                       -54.00 2690-000                                                      114,658.55
                                                         Stale; Will reissue

03/07/19              Veronica Galarza                   SOCIAL SECURITY Check                       -42.97 2690-000                                                      114,658.55
                                                         Stale; Will reissue

03/07/19              INTERNAL REVENUE SERVICE           Distribution Reversal Check Stale; Will reissue                                                    -23.83        114,682.38
                                            Case 3:18-bk-01164-JAB            Doc 279         Filed 07/02/20         Page 32 of 61

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                                                      Cash Receipts and Disbursements Record
Case Number:          18-01164 JAF                                                                Trustee:                LUIS E. RIVERA II
Case Name:            Eihab H Tawfik MD PA                                                        Bank Name:              Union Bank
                                                                                                  Account:                ******1863 - Checking
Taxpayer ID#:         ******5340                                                                  Blanket Bond:           $26,699,000.00 (per case limit)
Period:               04/01/19 - 03/31/20                                                         Separate Bond:          N/A

   1            2                     3                                          4                                                 5                    6                    7

 Trans.    Check or                                                                                           Uniform           Receipts          Disbursements          Checking
  Date      Ref. #          Paid To / Received From                  Description of Transaction              Tran. Code            $                    $             Account Balance

03/07/19              INTERNAL REVENUE SERVICE           EMPLOYER MATCHING                           -13.10 2690-000                                                       114,682.38
                                                         MEDICARE Check Stale; Will
                                                         reissue

03/07/19              INTERNAL REVENUE SERVICE           EMPLOYER MATCHING                           -10.73 2690-000                                                       114,682.38
                                                         MEDICARE Check Stale; Will
                                                         reissue

03/07/19              INTERNAL REVENUE SERVICE           Distribution Reversal Check Stale; Will reissue                                                    -121.26        114,803.64

03/07/19              INTERNAL REVENUE SERVICE           EMPLOYER MATCHING                           -19.34 2690-000                                                       114,803.64
                                                         SOCIAL SECURITY Check
                                                         Stale; Will reissue

03/07/19              INTERNAL REVENUE SERVICE           EMPLOYER MATCHING                           -45.90 2690-000                                                       114,803.64
                                                         SOCIAL SECURITY Check
                                                         Stale; Will reissue

03/07/19              INTERNAL REVENUE SERVICE           EMPLOYER MATCHING                           -56.02 2690-000                                                       114,803.64
                                                         SOCIAL SECURITY Check
                                                         Stale; Will reissue

03/07/19              INTERNAL REVENUE SERVICE           Distribution Reversal Check Stale; Will reissue                                                    -102.99        114,906.63

03/07/19              INTERNAL REVENUE SERVICE           FEDERAL INCOME TAX                          -17.16 2690-000                                                       114,906.63
                                                         Check Stale; Will reissue

03/07/19              INTERNAL REVENUE SERVICE           FEDERAL INCOME TAX                          -85.83 2690-000                                                       114,906.63
                                                         Check Stale; Will reissue

03/07/19              INTERNAL REVENUE SERVICE           Distribution Reversal Check Stale; Will reissue                                                     -23.83        114,930.46
                                            Case 3:18-bk-01164-JAB            Doc 279         Filed 07/02/20         Page 33 of 61

                                                                      Form 2                                                                                                     Page: 30

                                                      Cash Receipts and Disbursements Record
Case Number:          18-01164 JAF                                                                Trustee:                LUIS E. RIVERA II
Case Name:            Eihab H Tawfik MD PA                                                        Bank Name:              Union Bank
                                                                                                  Account:                ******1863 - Checking
Taxpayer ID#:         ******5340                                                                  Blanket Bond:           $26,699,000.00 (per case limit)
Period:               04/01/19 - 03/31/20                                                         Separate Bond:          N/A

   1            2                     3                                          4                                                 5                    6                    7

 Trans.    Check or                                                                                           Uniform           Receipts          Disbursements          Checking
  Date      Ref. #          Paid To / Received From                  Description of Transaction              Tran. Code            $                    $             Account Balance

03/07/19              INTERNAL REVENUE SERVICE           MEDICARE Check Stale; Will                  -10.73 2690-000                                                       114,930.46
                                                         reissue

03/07/19              Dana N. Burke                      MEDICARE Check Stale; Will                  -13.10 2690-000                                                       114,930.46
                                                         reissue

03/07/19              INTERNAL REVENUE SERVICE           Distribution Reversal Check Stale; Will reissue                                                    -121.26        115,051.72

03/07/19              INTERNAL REVENUE SERVICE           SOCIAL SECURITY Check                       -19.34 2690-000                                                       115,051.72
                      A                                  Stale; Will reissue

03/07/19              INTERNAL REVENUE SERVICE           SOCIAL SECURITY Check                       -56.02 2690-000                                                       115,051.72
                      A                                  Stale; Will reissue

03/07/19              Veronica Galarza                   SOCIAL SECURITY Check                       -45.90 2690-000                                                       115,051.72
                                                         Stale; Will reissue

03/07/19              INTERNAL REVENUE SERVICE           Distribution Reversal Check Stale; Will reissue                                                      -9.04        115,060.76

03/07/19              INTERNAL REVENUE SERVICE           EMPLOYER MATCHING                             -4.52 2690-000                                                      115,060.76
                                                         MEDICARE Check Stale; Will
                                                         reissue

03/07/19              INTERNAL REVENUE SERVICE           MEDICARE Check Stale; Will                    -4.52 2690-000                                                      115,060.76
                                                         reissue

03/07/19     3008     FEDERAL UNEMPLOYMENT               Distribution; Voided: Check issued on                                                               -46.59        115,107.35
                      INSURANCE                          10/22/2018

03/07/19     3016     FEDERAL UNEMPLOYMENT               Distribution; Voided: Check issued on                                                               -53.96        115,161.31
                      INSURANCE                          10/31/2018
                                            Case 3:18-bk-01164-JAB           Doc 279         Filed 07/02/20         Page 34 of 61

                                                                      Form 2                                                                                                   Page: 31

                                                      Cash Receipts and Disbursements Record
Case Number:          18-01164 JAF                                                               Trustee:                LUIS E. RIVERA II
Case Name:            Eihab H Tawfik MD PA                                                       Bank Name:              Union Bank
                                                                                                 Account:                ******1863 - Checking
Taxpayer ID#:         ******5340                                                                 Blanket Bond:           $26,699,000.00 (per case limit)
Period:               04/01/19 - 03/31/20                                                        Separate Bond:          N/A

   1            2                     3                                         4                                                 5                    6                   7

 Trans.    Check or                                                                                          Uniform           Receipts          Disbursements         Checking
  Date      Ref. #          Paid To / Received From                 Description of Transaction              Tran. Code            $                    $            Account Balance

03/07/19     3026     FEDERAL UNEMPLOYMENT               Distribution; Voided: Check issued on                                                             -67.47        115,228.78
                      INSURANCE                          11/15/2018

03/07/19     3030     INTERNAL REVENUE SERVICE           Quarterly Payroll Tax Form 941 3rd Quarter         2690-000                                  13,361.77          101,867.01
                                                         2018, EIN XX-XXXXXXX

03/07/19     3031     INTERNAL REVENUE SERVICE           Quarterly Payroll Tax Form 941 for 4th Quarter                                                1,019.91          100,847.10
                                                         2018, EIN XX-XXXXXXX

03/07/19              INTERNAL REVENUE SERVICE           Medicare - Employer                         70.61 2690-000                                                      100,847.10
                                                         Matching Form 941 for 4th
                                                         Quarter 2018, EIN 20-
                                                         3325340

03/07/19              INTERNAL REVENUE SERVICE           Social Security - Employer                 301.96 2690-000                                                      100,847.10
                                                         Matching Form 941 for 4th
                                                         Quarter 2018, EIN 20-
                                                         3325340

03/07/19              Dana N. Burke                      Quarterly Payroll Tax Form                 147.02 2690-000                                                      100,847.10
                                                         941 for 4th Quarter 2018, EIN
                                                         XX-XXXXXXX

03/07/19              Dana N. Burke                      Quarterly Payroll Tax Form                 164.98 2690-000                                                      100,847.10
                                                         941 for 4th Quarter 2018, EIN
                                                         XX-XXXXXXX

03/07/19              Dana N. Burke                      Quarterly Payroll Tax Form                 154.95 2690-000                                                      100,847.10
                                                         941 for 4th Quarter 2018, EIN
                                                         XX-XXXXXXX
                                            Case 3:18-bk-01164-JAB           Doc 279         Filed 07/02/20         Page 35 of 61

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                                                      Cash Receipts and Disbursements Record
Case Number:          18-01164 JAF                                                               Trustee:                LUIS E. RIVERA II
Case Name:            Eihab H Tawfik MD PA                                                       Bank Name:              Union Bank
                                                                                                 Account:                ******1863 - Checking
Taxpayer ID#:         ******5340                                                                 Blanket Bond:           $26,699,000.00 (per case limit)
Period:               04/01/19 - 03/31/20                                                        Separate Bond:          N/A

   1            2                     3                                         4                                                 5                    6                7

 Trans.    Check or                                                                                          Uniform           Receipts          Disbursements      Checking
  Date      Ref. #          Paid To / Received From                 Description of Transaction              Tran. Code            $                    $         Account Balance

03/07/19              Dana N. Burke                      Quarterly Payroll Tax Form                  41.02 2690-000                                                   100,847.10
                                                         941 for 4th Quarter 2018, EIN
                                                         XX-XXXXXXX

03/07/19              Veronica Galarza                   Quarterly Payroll Tax Form                  56.63 2690-000                                                   100,847.10
                                                         941 for 4th Quarter 2018, EIN
                                                         XX-XXXXXXX

03/07/19              Veronica Galarza                   Quarterly Payroll Tax Form                  53.02 2690-000                                                   100,847.10
                                                         941 for 4th Quarter 2018, EIN
                                                         XX-XXXXXXX

03/07/19              Veronica Galarza                   Quarterly Payroll Tax Form                  29.72 2690-000                                                   100,847.10
                                                         941 for 4th Quarter 2018, EIN
                                                         XX-XXXXXXX

03/07/19              FEDERAL UNEMPLOYMENT               FEDERAL UNEMPLOYMENT                       -33.19 2690-000                                                   100,847.10
                      INSURANCE                          INSURANCE

03/07/19              FEDERAL UNEMPLOYMENT               FEDERAL UNEMPLOYMENT                       -13.40 2690-000                                                   100,847.10
                      INSURANCE                          INSURANCE

03/07/19              FEDERAL UNEMPLOYMENT               FEDERAL UNEMPLOYMENT                       -30.05 2690-000                                                   100,847.10
                      INSURANCE                          INSURANCE

03/07/19              FEDERAL UNEMPLOYMENT               FEDERAL UNEMPLOYMENT                       -23.91 2690-000                                                   100,847.10
                      INSURANCE                          INSURANCE

03/07/19              FEDERAL UNEMPLOYMENT               FEDERAL UNEMPLOYMENT                       -31.17 2690-000                                                   100,847.10
                      INSURANCE                          INSURANCE
                                            Case 3:18-bk-01164-JAB           Doc 279         Filed 07/02/20         Page 36 of 61

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                                                      Cash Receipts and Disbursements Record
Case Number:          18-01164 JAF                                                               Trustee:                LUIS E. RIVERA II
Case Name:            Eihab H Tawfik MD PA                                                       Bank Name:              Union Bank
                                                                                                 Account:                ******1863 - Checking
Taxpayer ID#:         ******5340                                                                 Blanket Bond:           $26,699,000.00 (per case limit)
Period:               04/01/19 - 03/31/20                                                        Separate Bond:          N/A

   1            2                     3                                         4                                                 5                    6                7

 Trans.    Check or                                                                                          Uniform           Receipts          Disbursements      Checking
  Date      Ref. #          Paid To / Received From                 Description of Transaction              Tran. Code            $                    $         Account Balance

03/07/19              FEDERAL UNEMPLOYMENT               FEDERAL UNEMPLOYMENT                       -10.76 2690-000                                                   100,847.10
                      INSURANCE                          INSURANCE

03/07/19              FEDERAL UNEMPLOYMENT               FEDERAL UNEMPLOYMENT                       -25.54 2690-000                                                   100,847.10
                      INSURANCE                          INSURANCE

03/12/19   Asset #6   GrayRobinson Trust Account         Medical claim payment from State Farm &            1121-000                   33.75                          100,880.85
                                                         Aetna
                                                         State Farm Claim Payment ($33.49) per Order
                                                         (Doc. 200)
                                                         Aetna Claim Payment ($0.26)

03/15/19   Asset #6   United HealthCare Services, Inc.   Accounts Receivable from United HealthCare         1121-000                  998.37                          101,879.22
                                                         Services, Inc.

03/15/19   Asset #6   United HealthCare Services, Inc.   Accounts Receivable from United HealthCare         1121-000                  169.98                          102,049.20
                                                         Services, Inc.

03/15/19   Asset #6   United HealthCare Services, Inc.   Accounts Receivable from United HealthCare         1121-000                   18.39                          102,067.59
                                                         Services, Inc.

03/15/19   Asset #6   United HealthCare Services, Inc.   Accounts Receivable from United HealthCare         1121-000                   38.39                          102,105.98
                                                         Services, Inc.

03/15/19   Asset #6   United HealthCare Services, Inc.   Accounts Receivable from United HealthCare         1121-000                   36.53                          102,142.51
                                                         Services, Inc.

03/15/19   Asset #6   United HealthCare Services, Inc.   Accounts Receivable from United HealthCare         1121-000                  207.50                          102,350.01
                                                         Services, Inc.

03/15/19   Asset #6   United HealthCare Services, Inc.   Accounts Receivable from United HealthCare         1121-000                   36.53                          102,386.54
                                                         Services, Inc.
                                            Case 3:18-bk-01164-JAB           Doc 279         Filed 07/02/20         Page 37 of 61

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                                                      Cash Receipts and Disbursements Record
Case Number:          18-01164 JAF                                                               Trustee:                LUIS E. RIVERA II
Case Name:            Eihab H Tawfik MD PA                                                       Bank Name:              Union Bank
                                                                                                 Account:                ******1863 - Checking
Taxpayer ID#:         ******5340                                                                 Blanket Bond:           $26,699,000.00 (per case limit)
Period:               04/01/19 - 03/31/20                                                        Separate Bond:          N/A

   1            2                     3                                         4                                                 5                    6                7

 Trans.    Check or                                                                                          Uniform           Receipts          Disbursements      Checking
  Date      Ref. #          Paid To / Received From                 Description of Transaction              Tran. Code            $                    $         Account Balance

03/15/19   Asset #6   United HealthCare Services, Inc.   Accounts Receivable from United HealthCare         1121-000                   38.39                          102,424.93
                                                         Services, Inc.

03/15/19   Asset #6   United HealthCare Services, Inc.   Accounts Receivable from United HealthCare         1121-000                   38.14                          102,463.07
                                                         Services, Inc.

03/15/19   Asset #6   United HealthCare Services, Inc.   Accounts Receivable from United HealthCare         1121-000                   64.40                          102,527.47
                                                         Services, Inc.

03/15/19   Asset #6   United HealthCare Services, Inc.   Accounts Receivable from United HealthCare         1121-000                   38.17                          102,565.64
                                                         Services, Inc.

03/15/19   Asset #6   United HealthCare Services, Inc.   Accounts Receivable from United HealthCare         1121-000                  115.34                          102,680.98
                                                         Services, Inc.

03/15/19   Asset #6   United HealthCare Services, Inc.   Accounts Receivable from United HealthCare         1121-000                   52.68                          102,733.66
                                                         Services, Inc.

03/15/19   Asset #6   United HealthCare Services, Inc.   Accounts Receivable from United HealthCare         1121-000                  619.88                          103,353.54
                                                         Services, Inc.

03/15/19   Asset #6   United HealthCare Services, Inc.   Accounts Receivable from United HealthCare         1121-000                   32.64                          103,386.18
                                                         Services, Inc.

03/15/19   Asset #6   United HealthCare Services, Inc.   Accounts Receivable from United HealthCare         1121-000                   57.08                          103,443.26
                                                         Services, Inc.

03/15/19   Asset #6   United HealthCare Services, Inc.   Accounts Receivable from United HealthCare         1121-000                  367.27                          103,810.53
                                                         Services, Inc.

03/15/19   Asset #6   United HealthCare Services, Inc.   Accounts Receivable from United HealthCare         1121-000                   92.68                          103,903.21
                                                         Services, Inc.
                                            Case 3:18-bk-01164-JAB           Doc 279         Filed 07/02/20         Page 38 of 61

                                                                      Form 2                                                                                                Page: 35

                                                      Cash Receipts and Disbursements Record
Case Number:          18-01164 JAF                                                               Trustee:                LUIS E. RIVERA II
Case Name:            Eihab H Tawfik MD PA                                                       Bank Name:              Union Bank
                                                                                                 Account:                ******1863 - Checking
Taxpayer ID#:         ******5340                                                                 Blanket Bond:           $26,699,000.00 (per case limit)
Period:               04/01/19 - 03/31/20                                                        Separate Bond:          N/A

   1            2                     3                                         4                                                 5                    6                7

 Trans.    Check or                                                                                          Uniform           Receipts          Disbursements      Checking
  Date      Ref. #          Paid To / Received From                 Description of Transaction              Tran. Code            $                    $         Account Balance

03/15/19   Asset #6   United HealthCare Services, Inc.   Accounts Receivable from United HealthCare         1121-000                   69.51                          103,972.72
                                                         Services, Inc.

03/15/19   Asset #6   United HealthCare Services, Inc.   Accounts Receivable from United HealthCare         1121-000                   22.19                          103,994.91
                                                         Services, Inc.

03/15/19   Asset #6   United HealthCare Services, Inc.   Accounts Receivable from United HealthCare         1121-000                   63.70                          104,058.61
                                                         Services, Inc.

03/15/19   Asset #6   United HealthCare Services, Inc.   Accounts Receivable from United HealthCare         1121-000                   84.16                          104,142.77
                                                         Services, Inc.

03/15/19   Asset #6   United HealthCare Services, Inc.   Accounts Receivable from United HealthCare         1121-000                  452.53                          104,595.30
                                                         Services, Inc.

03/15/19   Asset #6   United HealthCare Services, Inc.   Accounts Receivable from United HealthCare         1121-000                  601.46                          105,196.76
                                                         Services, Inc.

03/15/19   Asset #6   United HealthCare Services, Inc.   Accounts Receivable from United HealthCare         1121-000                   14.19                          105,210.95
                                                         Services, Inc.

03/15/19   Asset #6   United HealthCare Services, Inc.   Accounts Receivable from United HealthCare         1121-000                   25.94                          105,236.89
                                                         Services, Inc.

03/15/19   Asset #6   United HealthCare Services, Inc.   Accounts Receivable from United HealthCare         1121-000                   21.13                          105,258.02
                                                         Services, Inc.

03/15/19   Asset #6   United HealthCare Services, Inc.   Accounts Receivable from United HealthCare         1121-000                   51.18                          105,309.20
                                                         Services, Inc.

03/15/19   Asset #6   United HealthCare Services, Inc.   Accounts Receivable from United HealthCare         1121-000                   94.88                          105,404.08
                                                         Services, Inc.
                                            Case 3:18-bk-01164-JAB           Doc 279         Filed 07/02/20         Page 39 of 61

                                                                      Form 2                                                                                                Page: 36

                                                      Cash Receipts and Disbursements Record
Case Number:          18-01164 JAF                                                               Trustee:                LUIS E. RIVERA II
Case Name:            Eihab H Tawfik MD PA                                                       Bank Name:              Union Bank
                                                                                                 Account:                ******1863 - Checking
Taxpayer ID#:         ******5340                                                                 Blanket Bond:           $26,699,000.00 (per case limit)
Period:               04/01/19 - 03/31/20                                                        Separate Bond:          N/A

   1            2                     3                                         4                                                 5                    6                7

 Trans.    Check or                                                                                          Uniform           Receipts          Disbursements      Checking
  Date      Ref. #          Paid To / Received From                 Description of Transaction              Tran. Code            $                    $         Account Balance

03/15/19   Asset #6   United HealthCare Services, Inc.   Accounts Receivable from United HealthCare         1121-000                  353.10                          105,757.18
                                                         Services, Inc.

03/15/19   Asset #6   United HealthCare Services, Inc.   Accounts Receivable from United HealthCare         1121-000                   72.68                          105,829.86
                                                         Services, Inc.

03/15/19   Asset #6   United HealthCare Services, Inc.   Accounts Receivable from United HealthCare         1121-000                  123.96                          105,953.82
                                                         Services, Inc.

03/15/19   Asset #6   United HealthCare Services, Inc.   Accounts Receivable from United HealthCare         1121-000                   91.18                          106,045.00
                                                         Services, Inc.

03/15/19   Asset #6   United HealthCare Services, Inc.   Accounts Receivable from United HealthCare         1121-000                   20.58                          106,065.58
                                                         Services, Inc.

03/15/19   Asset #6   United HealthCare Services, Inc.   Accounts Receivable from United HealthCare         1121-000                      5.52                        106,071.10
                                                         Services, Inc.

03/15/19   Asset #6   United HealthCare Services, Inc.   Accounts Receivable from United HealthCare         1121-000                  170.36                          106,241.46
                                                         Services, Inc.

03/15/19   Asset #6   United HealthCare Services, Inc.   Accounts Receivable from United HealthCare         1121-000                  749.39                          106,990.85
                                                         Services, Inc.

03/15/19   Asset #6   United HealthCare Services, Inc.   Accounts Receivable from United HealthCare         1121-000                  342.75                          107,333.60
                                                         Services, Inc.

03/15/19   Asset #6   United HealthCare Services, Inc.   Accounts Receivable from United HealthCare         1121-000                  245.80                          107,579.40
                                                         Services, Inc.

03/15/19   Asset #6   United HealthCare Services, Inc.   Accounts Receivable from United HealthCare         1121-000                   38.39                          107,617.79
                                                         Services, Inc.
                                            Case 3:18-bk-01164-JAB           Doc 279         Filed 07/02/20         Page 40 of 61

                                                                      Form 2                                                                                                Page: 37

                                                      Cash Receipts and Disbursements Record
Case Number:          18-01164 JAF                                                               Trustee:                LUIS E. RIVERA II
Case Name:            Eihab H Tawfik MD PA                                                       Bank Name:              Union Bank
                                                                                                 Account:                ******1863 - Checking
Taxpayer ID#:         ******5340                                                                 Blanket Bond:           $26,699,000.00 (per case limit)
Period:               04/01/19 - 03/31/20                                                        Separate Bond:          N/A

   1            2                     3                                         4                                                 5                    6                7

 Trans.    Check or                                                                                          Uniform           Receipts          Disbursements      Checking
  Date      Ref. #          Paid To / Received From                 Description of Transaction              Tran. Code            $                    $         Account Balance

03/15/19   Asset #6   United HealthCare Services, Inc.   Accounts Receivable from United HealthCare         1121-000                   18.26                          107,636.05
                                                         Services, Inc.

03/18/19   Asset #6   United HealthCare Insurance        Accounts Receivable from United HealthCare         1121-000                   61.98                          107,698.03
                      Company                            Services, Inc.

03/18/19   Asset #6   United HealthCare Insurance        Accounts Receivable from United HealthCare         1121-000                   90.97                          107,789.00
                      Company                            Services, Inc.

03/18/19   Asset #6   United HealthCare Insurance        Accounts Receivable from United HealthCare         1121-000                   43.04                          107,832.04
                      Company                            Services, Inc.

03/18/19   Asset #6   United HealthCare Insurance        Accounts Receivable from United HealthCare         1121-000                   63.32                          107,895.36
                      Company                            Services, Inc.

03/18/19   Asset #6   United HealthCare Insurance        Accounts Receivable from United HealthCare         1121-000                   32.64                          107,928.00
                      Company                            Services, Inc.

03/18/19   Asset #6   United HealthCare Insurance        Accounts Receivable from United HealthCare         1121-000                  373.63                          108,301.63
                      Company                            Services, Inc.

03/18/19   Asset #6   United HealthCare Insurance        Accounts Receivable from United HealthCare         1121-000               2,045.61                           110,347.24
                      Company                            Services, Inc.

03/18/19   Asset #6   United HealthCare Insurance        Accounts Receivable from United HealthCare         1121-000                      6.75                        110,353.99
                      Company                            Services, Inc.

03/18/19   Asset #6   United HealthCare Insurance        Accounts Receivable from United HealthCare         1121-000                   36.78                          110,390.77
                      Company                            Services, Inc.

03/18/19   Asset #6   United HealthCare Insurance        Accounts Receivable from United HealthCare         1121-000                  426.29                          110,817.06
                      Company                            Services, Inc.
                                            Case 3:18-bk-01164-JAB           Doc 279         Filed 07/02/20         Page 41 of 61

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                                                      Cash Receipts and Disbursements Record
Case Number:          18-01164 JAF                                                               Trustee:                LUIS E. RIVERA II
Case Name:            Eihab H Tawfik MD PA                                                       Bank Name:              Union Bank
                                                                                                 Account:                ******1863 - Checking
Taxpayer ID#:         ******5340                                                                 Blanket Bond:           $26,699,000.00 (per case limit)
Period:               04/01/19 - 03/31/20                                                        Separate Bond:          N/A

   1            2                     3                                         4                                                 5                    6                7

 Trans.    Check or                                                                                          Uniform           Receipts          Disbursements      Checking
  Date      Ref. #          Paid To / Received From                 Description of Transaction              Tran. Code            $                    $         Account Balance

03/18/19   Asset #6   United HealthCare Insurance        Accounts Receivable from United HealthCare         1121-000                      0.58                        110,817.64
                      Company                            Services, Inc.

03/18/19   Asset #6   United HealthCare Insurance        Accounts Receivable from United HealthCare         1121-000                   63.58                          110,881.22
                      Company                            Services, Inc.

03/18/19   Asset #6   United HealthCare Insurance        Accounts Receivable from United HealthCare         1121-000                   65.76                          110,946.98
                      Company                            Services, Inc.

03/18/19   Asset #6   United HealthCare Insurance        Accounts Receivable from United HealthCare         1121-000                  104.15                          111,051.13
                      Company                            Services, Inc.

03/18/19   Asset #6   United HealthCare Insurance        Accounts Receivable from United HealthCare         1121-000                  121.83                          111,172.96
                      Company                            Services, Inc.

03/18/19   Asset #6   United HealthCare Insurance        Accounts Receivable from United HealthCare         1121-000                   92.68                          111,265.64
                      Company                            Services, Inc.

03/18/19   Asset #6   United HealthCare Insurance        Accounts Receivable from United HealthCare         1121-000               2,433.08                           113,698.72
                      Company                            Services, Inc.

03/18/19   Asset #6   United HealthCare Insurance        Accounts Receivable from United HealthCare         1121-000                   72.68                          113,771.40
                      Company                            Services, Inc.

03/18/19   Asset #6   United HealthCare Insurance        Accounts Receivable from United HealthCare         1121-000                  390.05                          114,161.45
                      Company                            Services, Inc.

03/18/19   Asset #6   United HealthCare Insurance        Accounts Receivable from United HealthCare         1121-000                   23.44                          114,184.89
                      Company                            Services, Inc.

03/18/19   Asset #6   United HealthCare Insurance        Accounts Receivable from United HealthCare         1121-000                  123.96                          114,308.85
                      Company                            Services, Inc.
                                            Case 3:18-bk-01164-JAB           Doc 279         Filed 07/02/20         Page 42 of 61

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                                                      Cash Receipts and Disbursements Record
Case Number:          18-01164 JAF                                                               Trustee:                LUIS E. RIVERA II
Case Name:            Eihab H Tawfik MD PA                                                       Bank Name:              Union Bank
                                                                                                 Account:                ******1863 - Checking
Taxpayer ID#:         ******5340                                                                 Blanket Bond:           $26,699,000.00 (per case limit)
Period:               04/01/19 - 03/31/20                                                        Separate Bond:          N/A

   1            2                     3                                         4                                                 5                    6                7

 Trans.    Check or                                                                                          Uniform           Receipts          Disbursements      Checking
  Date      Ref. #          Paid To / Received From                 Description of Transaction              Tran. Code            $                    $         Account Balance

03/18/19   Asset #6   United HealthCare Insurance        Accounts Receivable from United HealthCare         1121-000                   41.74                          114,350.59
                      Company                            Services, Inc.

03/18/19   Asset #6   United HealthCare Insurance        Accounts Receivable from United HealthCare         1121-000                   72.68                          114,423.27
                      Company                            Services, Inc.

03/18/19   Asset #6   United HealthCare Insurance        Accounts Receivable from United HealthCare         1121-000               1,962.36                           116,385.63
                      Company                            Services, Inc.

03/18/19   Asset #6   United HealthCare Insurance        Accounts Receivable from United HealthCare         1121-000                   30.88                          116,416.51
                      Company                            Services, Inc.

03/18/19   Asset #6   United HealthCare Insurance        Accounts Receivable from United HealthCare         1121-000                   46.02                          116,462.53
                      Company                            Services, Inc.

03/18/19   Asset #6   United HealthCare Insurance        Accounts Receivable from United HealthCare         1121-000                   41.53                          116,504.06
                      Company                            Services, Inc.

03/18/19   Asset #6   United HealthCare Insurance        Accounts Receivable from United HealthCare         1121-000                   41.53                          116,545.59
                      Company                            Services, Inc.

03/18/19   Asset #6   United HealthCare Insurance        Accounts Receivable from United HealthCare         1121-000                  557.20                          117,102.79
                      Company                            Services, Inc.

03/18/19   Asset #6   United HealthCare Insurance        Accounts Receivable from United HealthCare         1121-000                   61.98                          117,164.77
                      Company                            Services, Inc.

03/18/19   Asset #6   United HealthCare Insurance        Accounts Receivable from United HealthCare         1121-000                  458.05                          117,622.82
                      Company                            Services, Inc.

03/18/19   Asset #6   United HealthCare Insurance        Accounts Receivable from United HealthCare         1121-000                  341.04                          117,963.86
                      Company                            Services, Inc.
                                            Case 3:18-bk-01164-JAB           Doc 279         Filed 07/02/20         Page 43 of 61

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                                                      Cash Receipts and Disbursements Record
Case Number:          18-01164 JAF                                                               Trustee:                LUIS E. RIVERA II
Case Name:            Eihab H Tawfik MD PA                                                       Bank Name:              Union Bank
                                                                                                 Account:                ******1863 - Checking
Taxpayer ID#:         ******5340                                                                 Blanket Bond:           $26,699,000.00 (per case limit)
Period:               04/01/19 - 03/31/20                                                        Separate Bond:          N/A

   1            2                     3                                         4                                                 5                    6                7

 Trans.    Check or                                                                                          Uniform           Receipts          Disbursements      Checking
  Date      Ref. #          Paid To / Received From                 Description of Transaction              Tran. Code            $                    $         Account Balance

03/18/19   Asset #6   United HealthCare Insurance        Accounts Receivable from United HealthCare         1121-000                  104.63                          118,068.49
                      Company                            Services, Inc.

03/18/19   Asset #6   United HealthCare Insurance        Accounts Receivable from United HealthCare         1121-000                  573.96                          118,642.45
                      Company                            Services, Inc.

03/18/19   Asset #6   United HealthCare Insurance        Accounts Receivable from United HealthCare         1121-000                      8.35                        118,650.80
                      Company                            Services, Inc.

03/18/19   Asset #6   United HealthCare Insurance        Accounts Receivable from United HealthCare         1121-000                   41.15                          118,691.95
                      Company                            Services, Inc.

03/18/19   Asset #6   United HealthCare Insurance        Accounts Receivable from United HealthCare         1121-000                  134.15                          118,826.10
                      Company                            Services, Inc.

03/18/19   Asset #6   United HealthCare Insurance        Accounts Receivable from United HealthCare         1121-000                  130.37                          118,956.47
                      Company                            Services, Inc.

03/18/19   Asset #6   United HealthCare Insurance        Accounts Receivable from United HealthCare         1121-000                   20.58                          118,977.05
                      Company                            Services, Inc.

03/18/19   Asset #6   United HealthCare Insurance        Accounts Receivable from United HealthCare         1121-000                  136.47                          119,113.52
                      Company                            Services, Inc.

03/18/19   Asset #6   United HealthCare Insurance        Accounts Receivable from United HealthCare         1121-000                  481.93                          119,595.45
                      Company                            Services, Inc.

03/18/19   Asset #6   United HealthCare Insurance        Accounts Receivable from United HealthCare         1121-000                  106.68                          119,702.13
                      Company                            Services, Inc.

03/18/19   Asset #6   United HealthCare Insurance        Accounts Receivable from United HealthCare         1121-000                  320.08                          120,022.21
                      Company                            Services, Inc.
                                            Case 3:18-bk-01164-JAB           Doc 279         Filed 07/02/20         Page 44 of 61

                                                                      Form 2                                                                                                Page: 41

                                                      Cash Receipts and Disbursements Record
Case Number:          18-01164 JAF                                                               Trustee:                LUIS E. RIVERA II
Case Name:            Eihab H Tawfik MD PA                                                       Bank Name:              Union Bank
                                                                                                 Account:                ******1863 - Checking
Taxpayer ID#:         ******5340                                                                 Blanket Bond:           $26,699,000.00 (per case limit)
Period:               04/01/19 - 03/31/20                                                        Separate Bond:          N/A

   1            2                     3                                         4                                                 5                    6                7

 Trans.    Check or                                                                                          Uniform           Receipts          Disbursements      Checking
  Date      Ref. #          Paid To / Received From                 Description of Transaction              Tran. Code            $                    $         Account Balance

03/18/19   Asset #6   United HealthCare Insurance        Accounts Receivable from United HealthCare         1121-000                  102.81                          120,125.02
                      Company                            Services, Inc.

03/18/19   Asset #6   United HealthCare Insurance        Accounts Receivable from United HealthCare         1121-000                   23.46                          120,148.48
                      Company                            Services, Inc.

03/18/19   Asset #6   United HealthCare Insurance        Accounts Receivable from United HealthCare         1121-000                  608.27                          120,756.75
                      Company                            Services, Inc.

03/18/19   Asset #6   United HealthCare Insurance        Accounts Receivable from United HealthCare         1121-000                  574.68                          121,331.43
                      Company                            Services, Inc.

03/18/19   Asset #6   United HealthCare Insurance        Accounts Receivable from United HealthCare         1121-000                   44.44                          121,375.87
                      Company                            Services, Inc.

03/18/19   Asset #6   United HealthCare Insurance        Accounts Receivable from United HealthCare         1121-000                  177.62                          121,553.49
                      Company                            Services, Inc.

03/18/19   Asset #6   United HealthCare Insurance        Accounts Receivable from United HealthCare         1121-000                  151.70                          121,705.19
                      Company                            Services, Inc.

03/18/19   Asset #6   United HealthCare Insurance        Accounts Receivable from United HealthCare         1121-000                  501.37                          122,206.56
                      Company                            Services, Inc.

03/18/19   Asset #6   United HealthCare Insurance        Accounts Receivable from United HealthCare         1121-000               1,403.91                           123,610.47
                      Company                            Services, Inc.

03/18/19   Asset #6   United HealthCare Insurance        Accounts Receivable from United HealthCare         1121-000                   61.98                          123,672.45
                      Company                            Services, Inc.

03/18/19   Asset #6   United HealthCare Insurance        Accounts Receivable from United HealthCare         1121-000                  106.93                          123,779.38
                      Company                            Services, Inc.
                                            Case 3:18-bk-01164-JAB           Doc 279         Filed 07/02/20         Page 45 of 61

                                                                      Form 2                                                                                                Page: 42

                                                      Cash Receipts and Disbursements Record
Case Number:          18-01164 JAF                                                               Trustee:                LUIS E. RIVERA II
Case Name:            Eihab H Tawfik MD PA                                                       Bank Name:              Union Bank
                                                                                                 Account:                ******1863 - Checking
Taxpayer ID#:         ******5340                                                                 Blanket Bond:           $26,699,000.00 (per case limit)
Period:               04/01/19 - 03/31/20                                                        Separate Bond:          N/A

   1            2                     3                                         4                                                 5                    6                7

 Trans.    Check or                                                                                          Uniform           Receipts          Disbursements      Checking
  Date      Ref. #          Paid To / Received From                 Description of Transaction              Tran. Code            $                    $         Account Balance

03/18/19   Asset #6   United HealthCare Insurance        Accounts Receivable from United HealthCare         1121-000                  450.70                          124,230.08
                      Company                            Services, Inc.

03/18/19   Asset #6   United HealthCare Insurance        Accounts Receivable from United HealthCare         1121-000                  180.46                          124,410.54
                      Company                            Services, Inc.

03/18/19   Asset #6   United HealthCare Insurance        Accounts Receivable from United HealthCare         1121-000                   31.53                          124,442.07
                      Company                            Services, Inc.

03/18/19   Asset #6   United HealthCare Insurance        Accounts Receivable from United HealthCare         1121-000                   18.39                          124,460.46
                      Company                            Services, Inc.

03/19/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000               1,606.86                           126,067.32
                                                         Services, Inc.

03/19/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000                  293.99                          126,361.31
                                                         Services, Inc.

03/19/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000                  497.30                          126,858.61
                                                         Services, Inc.

03/19/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000                  421.34                          127,279.95
                                                         Services, Inc.

03/19/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000                  582.90                          127,862.85
                                                         Services, Inc.

03/19/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000                   18.39                          127,881.24
                                                         Services, Inc.

03/19/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000                  108.13                          127,989.37
                                                         Services, Inc.
                                            Case 3:18-bk-01164-JAB           Doc 279         Filed 07/02/20         Page 46 of 61

                                                                      Form 2                                                                                                Page: 43

                                                      Cash Receipts and Disbursements Record
Case Number:          18-01164 JAF                                                               Trustee:                LUIS E. RIVERA II
Case Name:            Eihab H Tawfik MD PA                                                       Bank Name:              Union Bank
                                                                                                 Account:                ******1863 - Checking
Taxpayer ID#:         ******5340                                                                 Blanket Bond:           $26,699,000.00 (per case limit)
Period:               04/01/19 - 03/31/20                                                        Separate Bond:          N/A

   1            2                     3                                         4                                                 5                    6                7

 Trans.    Check or                                                                                          Uniform           Receipts          Disbursements      Checking
  Date      Ref. #          Paid To / Received From                 Description of Transaction              Tran. Code            $                    $         Account Balance

03/19/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000                  943.90                          128,933.27
                                                         Services, Inc.

03/19/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000                  207.39                          129,140.66
                                                         Services, Inc.

03/19/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000                  254.52                          129,395.18
                                                         Services, Inc.

03/19/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000                  230.27                          129,625.45
                                                         Services, Inc.

03/19/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000                   71.94                          129,697.39
                                                         Services, Inc.

03/19/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000                  608.21                          130,305.60
                                                         Services, Inc.

03/19/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000                   20.58                          130,326.18
                                                         Services, Inc.

03/19/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000                   76.87                          130,403.05
                                                         Services, Inc.

03/19/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000                  147.85                          130,550.90
                                                         Services, Inc.

03/19/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000                  208.59                          130,759.49
                                                         Services, Inc.

03/19/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000               1,251.87                           132,011.36
                                                         Services, Inc.
                                            Case 3:18-bk-01164-JAB           Doc 279         Filed 07/02/20         Page 47 of 61

                                                                      Form 2                                                                                                Page: 44

                                                      Cash Receipts and Disbursements Record
Case Number:          18-01164 JAF                                                               Trustee:                LUIS E. RIVERA II
Case Name:            Eihab H Tawfik MD PA                                                       Bank Name:              Union Bank
                                                                                                 Account:                ******1863 - Checking
Taxpayer ID#:         ******5340                                                                 Blanket Bond:           $26,699,000.00 (per case limit)
Period:               04/01/19 - 03/31/20                                                        Separate Bond:          N/A

   1            2                     3                                         4                                                 5                    6                7

 Trans.    Check or                                                                                          Uniform           Receipts          Disbursements      Checking
  Date      Ref. #          Paid To / Received From                 Description of Transaction              Tran. Code            $                    $         Account Balance

03/19/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000                   20.58                          132,031.94
                                                         Services, Inc.

03/19/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000                   91.38                          132,123.32
                                                         Services, Inc.

03/19/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000                  133.97                          132,257.29
                                                         Services, Inc.

03/19/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000                   72.68                          132,329.97
                                                         Services, Inc.

03/19/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000                   65.15                          132,395.12
                                                         Services, Inc.

03/19/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000                      8.74                        132,403.86
                                                         Services, Inc.

03/19/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000                  520.41                          132,924.27
                                                         Services, Inc.

03/19/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000                   77.68                          133,001.95
                                                         Services, Inc.

03/19/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000                  189.11                          133,191.06
                                                         Services, Inc.

03/19/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000                   67.68                          133,258.74
                                                         Services, Inc.

03/19/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000                   92.68                          133,351.42
                                                         Services, Inc.
                                            Case 3:18-bk-01164-JAB           Doc 279         Filed 07/02/20         Page 48 of 61

                                                                      Form 2                                                                                                Page: 45

                                                      Cash Receipts and Disbursements Record
Case Number:          18-01164 JAF                                                               Trustee:                LUIS E. RIVERA II
Case Name:            Eihab H Tawfik MD PA                                                       Bank Name:              Union Bank
                                                                                                 Account:                ******1863 - Checking
Taxpayer ID#:         ******5340                                                                 Blanket Bond:           $26,699,000.00 (per case limit)
Period:               04/01/19 - 03/31/20                                                        Separate Bond:          N/A

   1            2                     3                                         4                                                 5                    6                7

 Trans.    Check or                                                                                          Uniform           Receipts          Disbursements      Checking
  Date      Ref. #          Paid To / Received From                 Description of Transaction              Tran. Code            $                    $         Account Balance

03/19/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000                  130.33                          133,481.75
                                                         Services, Inc.

03/19/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000                   61.98                          133,543.73
                                                         Services, Inc.

03/19/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000                  274.15                          133,817.88
                                                         Services, Inc.

03/19/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000                  171.22                          133,989.10
                                                         Services, Inc.

03/19/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000                   37.89                          134,026.99
                                                         Services, Inc.

03/19/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000                   67.02                          134,094.01
                                                         Services, Inc.

03/19/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000                  123.96                          134,217.97
                                                         Services, Inc.

03/19/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000                   19.22                          134,237.19
                                                         Services, Inc.

03/19/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000                  171.27                          134,408.46
                                                         Services, Inc.

03/19/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000                   18.39                          134,426.85
                                                         Services, Inc.

03/19/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000                  342.17                          134,769.02
                                                         Services, Inc.
                                            Case 3:18-bk-01164-JAB           Doc 279         Filed 07/02/20         Page 49 of 61

                                                                      Form 2                                                                                                Page: 46

                                                      Cash Receipts and Disbursements Record
Case Number:          18-01164 JAF                                                               Trustee:                LUIS E. RIVERA II
Case Name:            Eihab H Tawfik MD PA                                                       Bank Name:              Union Bank
                                                                                                 Account:                ******1863 - Checking
Taxpayer ID#:         ******5340                                                                 Blanket Bond:           $26,699,000.00 (per case limit)
Period:               04/01/19 - 03/31/20                                                        Separate Bond:          N/A

   1            2                     3                                         4                                                 5                    6                7

 Trans.    Check or                                                                                          Uniform           Receipts          Disbursements      Checking
  Date      Ref. #          Paid To / Received From                 Description of Transaction              Tran. Code            $                    $         Account Balance

03/19/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000                  570.01                          135,339.03
                                                         Services, Inc.

03/19/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000                   91.71                          135,430.74
                                                         Services, Inc.

03/19/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000                   95.81                          135,526.55
                                                         Services, Inc.

03/19/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000                  103.31                          135,629.86
                                                         Services, Inc.

03/19/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000                      6.18                        135,636.04
                                                         Services, Inc.

03/19/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000                  134.15                          135,770.19
                                                         Services, Inc.

03/19/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000                  703.12                          136,473.31
                                                         Services, Inc.

03/19/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000                  119.58                          136,592.89
                                                         Services, Inc.

03/19/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000                   97.83                          136,690.72
                                                         Services, Inc.

03/19/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000                      0.58                        136,691.30
                                                         Services, Inc.

03/19/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000                   72.68                          136,763.98
                                                         Services, Inc.
                                            Case 3:18-bk-01164-JAB           Doc 279         Filed 07/02/20         Page 50 of 61

                                                                      Form 2                                                                                                Page: 47

                                                      Cash Receipts and Disbursements Record
Case Number:          18-01164 JAF                                                               Trustee:                LUIS E. RIVERA II
Case Name:            Eihab H Tawfik MD PA                                                       Bank Name:              Union Bank
                                                                                                 Account:                ******1863 - Checking
Taxpayer ID#:         ******5340                                                                 Blanket Bond:           $26,699,000.00 (per case limit)
Period:               04/01/19 - 03/31/20                                                        Separate Bond:          N/A

   1            2                     3                                         4                                                 5                    6                7

 Trans.    Check or                                                                                          Uniform           Receipts          Disbursements      Checking
  Date      Ref. #          Paid To / Received From                 Description of Transaction              Tran. Code            $                    $         Account Balance

03/19/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000                   74.14                          136,838.12
                                                         Services, Inc.

03/19/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000                  105.54                          136,943.66
                                                         Services, Inc.

03/19/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000                  123.96                          137,067.62
                                                         Services, Inc.

03/19/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000                  152.22                          137,219.84
                                                         Services, Inc.

03/19/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000                  106.08                          137,325.92
                                                         Services, Inc.

03/19/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000               1,645.46                           138,971.38
                                                         Services, Inc.

03/19/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000                  277.53                          139,248.91
                                                         Services, Inc.

03/21/19   Asset #6   United HealthCare Services, Inc.   Accounts Receivable from United HealthCare         1121-000                  160.58                          139,409.49
                                                         Services, Inc.

03/21/19   Asset #6   United HealthCare Services, Inc.   Accounts Receivable from United HealthCare         1121-000                   28.34                          139,437.83
                                                         Services, Inc.

03/21/19   Asset #6   United HealthCare Services, Inc.   Accounts Receivable from United HealthCare         1121-000                  118.67                          139,556.50
                                                         Services, Inc.

03/21/19   Asset #6   United HealthCare Services, Inc.   Accounts Receivable from United HealthCare         1121-000                   30.87                          139,587.37
                                                         Services, Inc.
                                            Case 3:18-bk-01164-JAB           Doc 279         Filed 07/02/20         Page 51 of 61

                                                                      Form 2                                                                                                Page: 48

                                                      Cash Receipts and Disbursements Record
Case Number:          18-01164 JAF                                                               Trustee:                LUIS E. RIVERA II
Case Name:            Eihab H Tawfik MD PA                                                       Bank Name:              Union Bank
                                                                                                 Account:                ******1863 - Checking
Taxpayer ID#:         ******5340                                                                 Blanket Bond:           $26,699,000.00 (per case limit)
Period:               04/01/19 - 03/31/20                                                        Separate Bond:          N/A

   1            2                     3                                         4                                                 5                    6                7

 Trans.    Check or                                                                                          Uniform           Receipts          Disbursements      Checking
  Date      Ref. #          Paid To / Received From                 Description of Transaction              Tran. Code            $                    $         Account Balance

03/21/19   Asset #6   United HealthCare Services, Inc.   Accounts Receivable from United HealthCare         1121-000                   61.13                          139,648.50
                                                         Services, Inc.

03/21/19   Asset #6   United HealthCare Services, Inc.   Accounts Receivable from United HealthCare         1121-000                   13.94                          139,662.44
                                                         Services, Inc.

03/21/19   Asset #6   United HealthCare Services, Inc.   Accounts Receivable from United HealthCare         1121-000                   44.12                          139,706.56
                                                         Services, Inc.

03/21/19   Asset #6   United HealthCare Services, Inc.   Accounts Receivable from United HealthCare         1121-000                   20.58                          139,727.14
                                                         Services, Inc.

03/21/19   Asset #6   United HealthCare Services, Inc.   Accounts Receivable from United HealthCare         1121-000                  231.59                          139,958.73
                                                         Services, Inc.

03/21/19   Asset #6   United HealthCare Services, Inc.   Accounts Receivable from United HealthCare         1121-000                   67.68                          140,026.41
                                                         Services, Inc.

03/21/19   Asset #6   United HealthCare Services, Inc.   Accounts Receivable from United HealthCare         1121-000                   37.45                          140,063.86
                                                         Services, Inc.

03/21/19   Asset #6   United HealthCare Services, Inc.   Accounts Receivable from United HealthCare         1121-000                      0.06                        140,063.92
                                                         Services, Inc.

03/21/19   Asset #6   United HealthCare Services, Inc.   Accounts Receivable from United HealthCare         1121-000                  119.76                          140,183.68
                                                         Services, Inc.

03/21/19   Asset #6   United HealthCare Services, Inc.   Accounts Receivable from United HealthCare         1121-000                   13.94                          140,197.62
                                                         Services, Inc.

03/21/19   Asset #6   United HealthCare Services, Inc.   Accounts Receivable from United HealthCare         1121-000                   23.44                          140,221.06
                                                         Services, Inc.
                                            Case 3:18-bk-01164-JAB           Doc 279         Filed 07/02/20         Page 52 of 61

                                                                      Form 2                                                                                                Page: 49

                                                      Cash Receipts and Disbursements Record
Case Number:          18-01164 JAF                                                               Trustee:                LUIS E. RIVERA II
Case Name:            Eihab H Tawfik MD PA                                                       Bank Name:              Union Bank
                                                                                                 Account:                ******1863 - Checking
Taxpayer ID#:         ******5340                                                                 Blanket Bond:           $26,699,000.00 (per case limit)
Period:               04/01/19 - 03/31/20                                                        Separate Bond:          N/A

   1            2                     3                                         4                                                 5                    6                7

 Trans.    Check or                                                                                          Uniform           Receipts          Disbursements      Checking
  Date      Ref. #          Paid To / Received From                 Description of Transaction              Tran. Code            $                    $         Account Balance

03/21/19   Asset #6   United HealthCare Services, Inc.   Accounts Receivable from United HealthCare         1121-000                   91.38                          140,312.44
                                                         Services, Inc.

03/21/19   Asset #6   United HealthCare Services, Inc.   Accounts Receivable from United HealthCare         1121-000                   20.58                          140,333.02
                                                         Services, Inc.

03/21/19   Asset #6   United HealthCare Services, Inc.   Accounts Receivable from United HealthCare         1121-000                   82.95                          140,415.97
                                                         Services, Inc.

03/21/19   Asset #6   United HealthCare Services, Inc.   Accounts Receivable from United HealthCare         1121-000                  114.86                          140,530.83
                                                         Services, Inc.

03/21/19   Asset #6   United HealthCare Services, Inc.   Accounts Receivable from United HealthCare         1121-000                  151.70                          140,682.53
                                                         Services, Inc.

03/21/19   Asset #6   United HealthCare Services, Inc.   Accounts Receivable from United HealthCare         1121-000                  576.49                          141,259.02
                                                         Services, Inc.

03/21/19   Asset #6   United HealthCare Services, Inc.   Accounts Receivable from United HealthCare         1121-000                  406.86                          141,665.88
                                                         Services, Inc.

03/21/19   Asset #6   United HealthCare Services, Inc.   Accounts Receivable from United HealthCare         1121-000                  229.09                          141,894.97
                                                         Services, Inc.

03/21/19   Asset #6   United HealthCare Services, Inc.   Accounts Receivable from United HealthCare         1121-000                   36.78                          141,931.75
                                                         Services, Inc.

03/21/19   Asset #6   United HealthCare Services, Inc.   Accounts Receivable from United HealthCare         1121-000                   83.37                          142,015.12
                                                         Services, Inc.

03/21/19   Asset #6   United HealthCare Services, Inc.   Accounts Receivable from United HealthCare         1121-000                  495.36                          142,510.48
                                                         Services, Inc.
                                            Case 3:18-bk-01164-JAB           Doc 279         Filed 07/02/20         Page 53 of 61

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                                                      Cash Receipts and Disbursements Record
Case Number:          18-01164 JAF                                                               Trustee:                LUIS E. RIVERA II
Case Name:            Eihab H Tawfik MD PA                                                       Bank Name:              Union Bank
                                                                                                 Account:                ******1863 - Checking
Taxpayer ID#:         ******5340                                                                 Blanket Bond:           $26,699,000.00 (per case limit)
Period:               04/01/19 - 03/31/20                                                        Separate Bond:          N/A

   1            2                     3                                         4                                                 5                    6                7

 Trans.    Check or                                                                                          Uniform           Receipts          Disbursements      Checking
  Date      Ref. #          Paid To / Received From                 Description of Transaction              Tran. Code            $                    $         Account Balance

03/22/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000                  138.28                          142,648.76
                                                         Services, Inc.

03/22/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000                   18.39                          142,667.15
                                                         Services, Inc.

03/22/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000                   20.58                          142,687.73
                                                         Services, Inc.

03/22/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000                  856.20                          143,543.93
                                                         Services, Inc.

03/22/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000               1,110.48                           144,654.41
                                                         Services, Inc.

03/22/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000                   89.72                          144,744.13
                                                         Services, Inc.

03/22/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000                  852.60                          145,596.73
                                                         Services, Inc.

03/22/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000                  248.64                          145,845.37
                                                         Services, Inc.

03/22/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000                   70.78                          145,916.15
                                                         Services, Inc.

03/22/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000                   20.58                          145,936.73
                                                         Services, Inc.

03/22/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000                   61.98                          145,998.71
                                                         Services, Inc.
                                            Case 3:18-bk-01164-JAB           Doc 279         Filed 07/02/20         Page 54 of 61

                                                                      Form 2                                                                                                Page: 51

                                                      Cash Receipts and Disbursements Record
Case Number:          18-01164 JAF                                                               Trustee:                LUIS E. RIVERA II
Case Name:            Eihab H Tawfik MD PA                                                       Bank Name:              Union Bank
                                                                                                 Account:                ******1863 - Checking
Taxpayer ID#:         ******5340                                                                 Blanket Bond:           $26,699,000.00 (per case limit)
Period:               04/01/19 - 03/31/20                                                        Separate Bond:          N/A

   1            2                     3                                         4                                                 5                    6                7

 Trans.    Check or                                                                                          Uniform           Receipts          Disbursements      Checking
  Date      Ref. #          Paid To / Received From                 Description of Transaction              Tran. Code            $                    $         Account Balance

03/22/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000                  276.82                          146,275.53
                                                         Services, Inc.

03/22/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000                   38.73                          146,314.26
                                                         Services, Inc.

03/22/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000               1,852.76                           148,167.02
                                                         Services, Inc.

03/22/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000               1,265.92                           149,432.94
                                                         Services, Inc.

03/22/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000                   72.68                          149,505.62
                                                         Services, Inc.

03/22/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000                   39.39                          149,545.01
                                                         Services, Inc.

03/22/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000                   39.12                          149,584.13
                                                         Services, Inc.

03/22/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000                   92.68                          149,676.81
                                                         Services, Inc.

03/22/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000                  259.10                          149,935.91
                                                         Services, Inc.

03/22/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000                   45.35                          149,981.26
                                                         Services, Inc.

03/22/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000                   94.91                          150,076.17
                                                         Services, Inc.
                                            Case 3:18-bk-01164-JAB           Doc 279         Filed 07/02/20         Page 55 of 61

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                                                      Cash Receipts and Disbursements Record
Case Number:          18-01164 JAF                                                               Trustee:                LUIS E. RIVERA II
Case Name:            Eihab H Tawfik MD PA                                                       Bank Name:              Union Bank
                                                                                                 Account:                ******1863 - Checking
Taxpayer ID#:         ******5340                                                                 Blanket Bond:           $26,699,000.00 (per case limit)
Period:               04/01/19 - 03/31/20                                                        Separate Bond:          N/A

   1            2                     3                                         4                                                 5                    6                7

 Trans.    Check or                                                                                          Uniform           Receipts          Disbursements      Checking
  Date      Ref. #          Paid To / Received From                 Description of Transaction              Tran. Code            $                    $         Account Balance

03/22/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000                   84.86                          150,161.03
                                                         Services, Inc.

03/22/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000                  107.61                          150,268.64
                                                         Services, Inc.

03/22/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000                  848.92                          151,117.56
                                                         Services, Inc.

03/22/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000                   57.08                          151,174.64
                                                         Services, Inc.

03/22/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000                      5.13                        151,179.77
                                                         Services, Inc.

03/22/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000                  261.18                          151,440.95
                                                         Services, Inc.

03/22/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000                   59.97                          151,500.92
                                                         Services, Inc.

03/22/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000                   43.04                          151,543.96
                                                         Services, Inc.

03/22/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000                   61.98                          151,605.94
                                                         Services, Inc.

03/22/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000                   49.51                          151,655.45
                                                         Services, Inc.

03/22/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000                   23.39                          151,678.84
                                                         Services, Inc.
                                            Case 3:18-bk-01164-JAB           Doc 279         Filed 07/02/20         Page 56 of 61

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                                                      Cash Receipts and Disbursements Record
Case Number:          18-01164 JAF                                                               Trustee:                LUIS E. RIVERA II
Case Name:            Eihab H Tawfik MD PA                                                       Bank Name:              Union Bank
                                                                                                 Account:                ******1863 - Checking
Taxpayer ID#:         ******5340                                                                 Blanket Bond:           $26,699,000.00 (per case limit)
Period:               04/01/19 - 03/31/20                                                        Separate Bond:          N/A

   1            2                     3                                         4                                                 5                    6                7

 Trans.    Check or                                                                                          Uniform           Receipts          Disbursements      Checking
  Date      Ref. #          Paid To / Received From                 Description of Transaction              Tran. Code            $                    $         Account Balance

03/22/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000                   71.53                          151,750.37
                                                         Services, Inc.

03/22/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000                   55.10                          151,805.47
                                                         Services, Inc.

03/22/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000                  418.29                          152,223.76
                                                         Services, Inc.

03/22/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000                  134.93                          152,358.69
                                                         Services, Inc.

03/22/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000               1,106.61                           153,465.30
                                                         Services, Inc.

03/22/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000                   18.39                          153,483.69
                                                         Services, Inc.

03/22/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000                   40.55                          153,524.24
                                                         Services, Inc.

03/22/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000                  182.76                          153,707.00
                                                         Services, Inc.

03/22/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000                  390.55                          154,097.55
                                                         Services, Inc.

03/22/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000                   87.40                          154,184.95
                                                         Services, Inc.

03/22/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000                   28.93                          154,213.88
                                                         Services, Inc.
                                            Case 3:18-bk-01164-JAB           Doc 279         Filed 07/02/20         Page 57 of 61

                                                                      Form 2                                                                                                Page: 54

                                                      Cash Receipts and Disbursements Record
Case Number:          18-01164 JAF                                                               Trustee:                LUIS E. RIVERA II
Case Name:            Eihab H Tawfik MD PA                                                       Bank Name:              Union Bank
                                                                                                 Account:                ******1863 - Checking
Taxpayer ID#:         ******5340                                                                 Blanket Bond:           $26,699,000.00 (per case limit)
Period:               04/01/19 - 03/31/20                                                        Separate Bond:          N/A

   1            2                     3                                         4                                                 5                    6                7

 Trans.    Check or                                                                                          Uniform           Receipts          Disbursements      Checking
  Date      Ref. #          Paid To / Received From                 Description of Transaction              Tran. Code            $                    $         Account Balance

03/22/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000                  763.13                          154,977.01
                                                         Services, Inc.

03/22/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000                   88.86                          155,065.87
                                                         Services, Inc.

03/22/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000                   49.51                          155,115.38
                                                         Services, Inc.

03/22/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000                   13.94                          155,129.32
                                                         Services, Inc.

03/22/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000                   62.68                          155,192.00
                                                         Services, Inc.

03/22/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000                  589.86                          155,781.86
                                                         Services, Inc.

03/22/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000                  144.17                          155,926.03
                                                         Services, Inc.

03/22/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000                  117.45                          156,043.48
                                                         Services, Inc.

03/22/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000                  362.66                          156,406.14
                                                         Services, Inc.

03/22/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000                  998.37                          157,404.51
                                                         Services, Inc.

03/22/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000                   74.14                          157,478.65
                                                         Services, Inc.
                                            Case 3:18-bk-01164-JAB           Doc 279         Filed 07/02/20         Page 58 of 61

                                                                      Form 2                                                                                                Page: 55

                                                      Cash Receipts and Disbursements Record
Case Number:          18-01164 JAF                                                               Trustee:                LUIS E. RIVERA II
Case Name:            Eihab H Tawfik MD PA                                                       Bank Name:              Union Bank
                                                                                                 Account:                ******1863 - Checking
Taxpayer ID#:         ******5340                                                                 Blanket Bond:           $26,699,000.00 (per case limit)
Period:               04/01/19 - 03/31/20                                                        Separate Bond:          N/A

   1            2                     3                                         4                                                 5                    6                7

 Trans.    Check or                                                                                          Uniform           Receipts          Disbursements      Checking
  Date      Ref. #          Paid To / Received From                 Description of Transaction              Tran. Code            $                    $         Account Balance

03/22/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000                  252.10                          157,730.75
                                                         Services, Inc.

03/22/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000                  177.87                          157,908.62
                                                         Services, Inc.

03/22/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000                  115.61                          158,024.23
                                                         Services, Inc.

03/22/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000                  123.96                          158,148.19
                                                         Services, Inc.

03/22/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000                   29.10                          158,177.29
                                                         Services, Inc.

03/22/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000                  123.96                          158,301.25
                                                         Services, Inc.

03/22/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000                   28.34                          158,329.59
                                                         Services, Inc.

03/22/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000                   20.58                          158,350.17
                                                         Services, Inc.

03/22/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000                  106.08                          158,456.25
                                                         Services, Inc.

03/22/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000                  124.84                          158,581.09
                                                         Services, Inc.

03/22/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000                   55.92                          158,637.01
                                                         Services, Inc.
                                            Case 3:18-bk-01164-JAB           Doc 279         Filed 07/02/20         Page 59 of 61

                                                                      Form 2                                                                                                   Page: 56

                                                      Cash Receipts and Disbursements Record
Case Number:          18-01164 JAF                                                               Trustee:                LUIS E. RIVERA II
Case Name:            Eihab H Tawfik MD PA                                                       Bank Name:              Union Bank
                                                                                                 Account:                ******1863 - Checking
Taxpayer ID#:         ******5340                                                                 Blanket Bond:           $26,699,000.00 (per case limit)
Period:               04/01/19 - 03/31/20                                                        Separate Bond:          N/A

   1            2                     3                                         4                                                 5                    6                   7

 Trans.    Check or                                                                                          Uniform           Receipts          Disbursements         Checking
  Date      Ref. #          Paid To / Received From                 Description of Transaction              Tran. Code            $                    $            Account Balance

03/22/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000                      8.35                           158,645.36
                                                         Services, Inc.

03/22/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000                  41.16                              158,686.52
                                                         Services, Inc.

03/22/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000                  20.58                              158,707.10
                                                         Services, Inc.

03/22/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000                  13.94                              158,721.04
                                                         Services, Inc.

03/22/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000                  27.03                              158,748.07
                                                         Services, Inc.

03/22/19   Asset #6   United HeathCare Services, Inc.    Accounts Receivable from United HealthCare         1121-000               1,046.22                              159,794.29
                                                         Services, Inc.

03/25/19              Union Bank                         Bank Service Fee under 1186&330(a)(1)       2600-000                                       153.47        159,640.82
                                                         (B), 503(b)(1), and 507(a)(2)

03/27/19   Asset #6   Mary Arana-Anderson                Accounts Receivable from Mary Arana-               1121-000                  50.00                              159,690.82
                                                         Anderson

03/27/19   Asset #6   Stanley G Prinston                 Accounts Receivable from Stanley G. Prinston       1121-000                  55.00                              159,745.82

04/25/19              Union Bank                         Bank Service Fee under 1186&330(a)(1)       2600-000                                       189.06        159,556.76
                                                         (B), 503(b)(1), and 507(a)(2)

05/10/19              Union Bank                         Account Closeout Transfer Adjustment               9999-000                                 159,556.76                   0.00
                                            Case 3:18-bk-01164-JAB            Doc 279         Filed 07/02/20         Page 60 of 61

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                                                      Cash Receipts and Disbursements Record
Case Number:          18-01164 JAF                                                                Trustee:                LUIS E. RIVERA II
Case Name:            Eihab H Tawfik MD PA                                                        Bank Name:              Union Bank
                                                                                                  Account:                ******1863 - Checking
Taxpayer ID#:         ******5340                                                                  Blanket Bond:           $26,699,000.00 (per case limit)
Period:               04/01/19 - 03/31/20                                                         Separate Bond:          N/A

   1            2                     3                                          4                                                 5                    6                   7

 Trans.    Check or                                                                                           Uniform           Receipts          Disbursements         Checking
  Date      Ref. #          Paid To / Received From                  Description of Transaction              Tran. Code            $                    $            Account Balance

07/31/19              FEDERAL UNEMPLOYMENT               Distribution unclaimed. Will reissue check.                                                        -53.96                53.96
                      INSURANCE
07/31/19              FEDERAL UNEMPLOYMENT               FEDERAL UNEMPLOYMENT                        -30.05 2690-000                                                              53.96
                      INSURANCE                          INSURANCE

07/31/19              FEDERAL UNEMPLOYMENT               FEDERAL UNEMPLOYMENT                        -23.91 2690-000                                                              53.96
                      INSURANCE                          INSURANCE

08/07/19              FEDERAL UNEMPLOYMENT               Check reversed in error.                                                                           53.96                  0.00
                      INSURANCE
08/07/19              FEDERAL UNEMPLOYMENT               FEDERAL UNEMPLOYMENT                         30.05 2690-000                                                               0.00
                      INSURANCE                          INSURANCE

08/07/19              FEDERAL UNEMPLOYMENT               FEDERAL UNEMPLOYMENT                         23.91 2690-000                                                               0.00
                      INSURANCE                          INSURANCE


                                                                                ACCOUNT TOTALS                                   179,888.56           179,888.56                  $0.00
                                                                                   Less: Bank Transfers                                0.00           159,556.76

                                                                                Subtotal                                         179,888.56            20,331.80
                                                                                   Less: Payment to Debtors                                                 0.00

                                                                                NET Receipts / Disbursements                    $179,888.56           $20,331.80
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       Cash Receipts and Disbursements Record

                                                                  Net            Net          Account
                            TOTAL - ALL ACCOUNTS                Receipts    Disbursements     Balances
                            Checking # **********-ch7                0.00           17.25          0.00
                            Checking # **********-ch7                0.00            0.00          0.00
                            Checking # **********-ch7            5,012.74        6,580.14     -1,283.63
                            Checking # ********-ch7                  0.00            7.00          0.00
                            Checking # ********-ch7              7,098.92           22.00          0.00
                            Checking # ******1863              179,888.56       20,331.80          0.00
                            Checking # ******7558                 320.22         2,393.21    157,483.77
                                                              $192,320.44      $29,351.40   $156,200.14
